      Case 1-23-42888-ess             Doc 16       Filed 08/25/23    Entered 08/25/23 21:29:11




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Proposed Counsel to the Debtor

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re

BAOBURG INC.,                                                       Case No.

                                    Debtor.                         Sub Ch. V Chapter 11
--------------------------------------------------------X

                     DECLARATION PURSUANT TO 11 U.S.C. SECTION 1116

        Suchanan Aksornnan, president of the above-captioned debtor in possession (the

“Debtor”), hereby declares as follows:

        1.       I have been informed that the Debtor is obligated to annex a copy of its most

recent balance sheet, statement of operations, cash-flow statement, and Federal income tax return

to its bankruptcy petition. I have annexed hereto a copy of the last federal tax return filed by the

Debtor. I do not possess a cash flow statement, balance sheet, or statement of operations.

However, if these documents are possessed by the Debtor’s accountants, I will file and amended

Declaration to provide these additional documents.

        I declare under the penalty of perjury that the foregoing is accurate and true to the best of

my knowledge.

Dated: August 13, 2023
       Brooklyn, New York
                                                            S/Suchanan Aksornan
                                                            Suchanan Aksornnan
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Form   8879-C                        IRS e-file Signature Authorization for Form 1120
                                                                                                                                                                OMB No. 1545-0123




Department of the Treasury
                             For calendar year 2021, or tax year beginning       Oct 1             , 2021, ending Sep
                                                       a Do not send to the IRS. Keep for your records.
                                                                                                                             30             , 20 22
                                                                                                                                                                   2021
Internal Revenue Service                         a Go to www.irs.gov/Form8879C for the latest information.
Name of corporation                                                                                                              Employer identification number
BAOBURG INC.                                                                                                                     XX-XXXXXXX
 Part I Tax Return Information (Whole dollars only)
   1     Total income (Form 1120, line 11) . .              .   .   .   .    .    .   .   .    .   .   .    .   .   .    .   .    .     .   .   .     .        1       454,797.
   2     Taxable income (Form 1120, line 30) .              .   .   .   .    .    .   .   .    .   .   .    .   .   .    .   .    .     .   .   .     .        2      -189,818.
   3     Total tax (Form 1120, line 31) . . .               .   .   .   .    .    .   .   .    .   .   .    .   .   .    .   .    .     .   .   .     .        3             0.
   4     Amount owed (Form 1120, line 35) .                 .   .   .   .    .    .   .   .    .   .   .    .   .   .    .   .    .     .   .   .     .        4
   5     Overpayment (Form 1120, line 36) . .               .   .   .   .    .    .   .   .    .   .   .    .   .   .
                                                                                                                 21,356. .   .    .     .   .   .     .        5
 Part II        Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation’s return.
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation’s
2021 electronic income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is
true, correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation’s
electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
send the corporation’s return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the
transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize
the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
institution account indicated in the tax preparation software for payment of the corporation’s federal taxes owed on this return, and
the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation’s electronic
income tax return and, if applicable, the corporation’s consent to electronic funds withdrawal.

Officer’s PIN: check one box only

              I authorize                                                                                  to enter my PIN                                         as my signature
                                                       ERO firm name                                                                  do not enter all zeros
              on the corporation’s 2021 electronically filed income tax return.

              As an officer of the corporation, I will enter my PIN as my signature on the corporation’s 2021 electronically filed income tax
              return.
Officer’s signature a                                                                         Date a                                  Title a   PRESIDENT

Part III        Certification and Authentication

ERO’s EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.
                                                                                                                                                    do not enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the 2021 electronically filed income tax return for the
corporation indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file
Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business
Returns.

ERO’s signature a                                                                                                       Date a    02/18/2023


                                            ERO Must Retain This Form — See Instructions
                                    Do Not Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see instructions.                             REV 10/24/22 PRO                                                              Form 8879-C (2021)
BAA
                                                                                    Case 1-23-42888-ess                                Doc 16                      Filed 08/25/23                              Entered 08/25/23 21:29:11


                                                                    1120                                                    U.S. Corporation Income Tax Return                                                                                                            OMB No. 1545-0123


                                                                                                                                                                                                                                                                           2021
Form                                                                                             For calendar year 2021 or tax year beginning                                                          , 2021, ending              Sep 30             , 20 22
                                                                                                                                                                              Oct 1
Department of the Treasury
Internal Revenue Service                                                                                          a Go to www.irs.gov/Form1120 for instructions and the latest information.

A Check if:                                                                                                  Name                                                                                                                                  B Employer identification number
1a Consolidated return
   (attach Form 851)     .                                                                                   BAOBURG INC.                                                                                                                          XX-XXXXXXX
                                                                                              TYPE
 b Life/nonlife consoli-                                                                                     Number, street, and room or suite no. If a P.O. box, see instructions.                                                                C Date incorporated
   dated return .    .   .                                                                    OR
2 Personal holding co.                                                                        PRINT          614 MANHATTAN AVE                                                                                                                     10/05/2015
   (attach Sch. PH) .    .                                                                                   City or town, state or province, country, and ZIP or foreign postal code                                                              D Total assets (see instructions)
3 Personal service corp.
  (see instructions) . .                                                                                     BROOKLYN                                                                                  NY 11222                                                       $         189,247
4 Schedule M-3 attached                                                                        E Check if: (1)              Initial return               (2)            Final return                     (3)           Name change                (4)          Address change
                                                                     1a      Gross receipts or sales .              .   .    .    .   .      .   .   .         .    .     .    .   .       .      .      .     .         1a             1,056,713
                                                                      b      Returns and allowances . . . . . .                              .   .   .         .    .     .    .   .       .      .      .     .         1b
                                                                      c      Balance. Subtract line 1b from line 1a  .                       .   .   .         .    .     .    .   .       .      .      .     .   .     . .        .    .    .   .     .        1c          1,056,713
                                                                     2       Cost of goods sold (attach Form 1125-A) .                       .   .   .         .    .     .    .   .       .      .      .     .   .     . .        .    .    .   .     .         2            601,916
                                                                     3       Gross profit. Subtract line 2 from line 1c . .                      .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .         3            454,797
     Income




                                                                     4       Dividends and inclusions (Schedule C, line 23)                      .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .         4
                                                                     5       Interest   . . . . . . . . . . .                                    .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .         5
                                                                     6       Gross rents . . . . . . . . . . . . . .                                                      .    .   .       .      .      .     .   .     .     .    .    .    .   .     .         6
                                                                     7       Gross royalties . . . . . . . . . . . . .                                                    .    .   .       .      .      .     .   .     .     .    .    .    .   .     .         7
                                                                     8       Capital gain net income (attach Schedule D (Form 1120)) .                                    .    .   .       .      .      .     .   .     .     .    .    .    .   .     .         8
                                                                     9       Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797)                                        .      .      .     .   .     .     .    .    .    .   .     .         9
                                                                    10       Other income (see instructions—attach statement) . . . . . .                                                  .      .      .     .   .     .     .    .    .    .   .     .        10
                                                                    11       Total income. Add lines 3 through 10 . . . . . . . . .                                                        .      .      .     .   .     .     .    .    .    .   .     a        11             454,797
                                                                    12       Compensation of officers (see instructions—attach Form 1125-E)         .                                      .      .      .     .   .     .     .    .    .    .   .     a        12              19,893
     Deductions (See instructions for limitations on deductions.)




                                                                    13       Salaries and wages (less employment credits)                        .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        13              34,713
                                                                    14       Repairs and maintenance                .   .    .    .   .      .   .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        14              67,832
                                                                    15       Bad debts . . .             .    .     .   .    .    .   .      .   .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        15
                                                                    16       Rents . . . .               .    .     .   .    .    .   .      .   .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        16               60,400
                                                                    17       Taxes and licenses          .    .     .   .    .    .   .      .   .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        17                9,758
                                                                    18       Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                                                                                            .     .        18
                                                                    19       Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . .                                                                                             .     .        19
                                                                    20       Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) .                                                                   .     .        20
                                                                    21       Depletion . . . . . . . .                            .   .      .   .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        21
                                                                    22       Advertising    . . . . . . .                         .   .      .   .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        22               16,181
                                                                    23       Pension, profit-sharing, etc., plans                 .   .      .   .   .         .    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        23
                                                                    24       Employee benefit programs      . .                   .    . . .          . . . . . . . . . . .                                              .     .    .    .    .   .     .        24
                                                                    25       Reserved for future use . . . .                      .    . . .          . . . . . . . . . . .                                              .     .    .    .    .   .     .        25
                                                                    26       Other deductions (attach statement)                  .   Other
                                                                                                                                       . . .         Deductions
                                                                                                                                                      . . . . . .Statement
                                                                                                                                                                   . . . . .                                             .     .    .    .    .   .     .        26             435,838
                                                                    27       Total deductions. Add lines 12 through 26 . . . . . . . . . . . . . . . . . . .                                                                                            a        27             644,615
                                                                    28       Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11.                                                                  .        28            -189,818
                                                                    29a      Net operating loss deduction (see instructions) . . . . . . . . . . .                 29a
                                                                      b      Special deductions (Schedule C, line 24) . . . . . . . .                                              .       .      .      .     .        29b
                                                                      c      Add lines 29a and 29b . . . . . . . . . . . . .                                                       .       .      .      .     .   .     . .        .    .    .   .     .        29c
                                                                    30       Taxable income. Subtract line 29c from line 28. See instructions                                      .       .      .      .     .   .     . .        .    .    .   .     .         30           -189,818
Tax, Refundable Credits, and




                                                                    31       Total tax (Schedule J, Part I, line 11) . . . . . .                                    .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        31                   0
                                                                    32       Reserved for future use . . . . . . . . . .                                            .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        32
         Payments




                                                                    33       Total payments and credits (Schedule J, Part III, line 23)                             .     .    .   .       .      .      .     .   .     .     .    .    .    .   .     .        33               21,356
                                                                    34       Estimated tax penalty. See instructions. Check if Form 2220 is attached      . . . . .                                                            .    .    .    .a                 34
                                                                    35       Amount owed. If line 33 is smaller than the total of lines 31 and 34, enter amount owed                                                           .    .    .    . .       .        35
                                                                    36       Overpayment. If line 33 is larger than the total of lines 31 and 34, enter amount overpaid                                                        .    .    .    . .       .        36               21,356
                                                                    37       Enter amount from line 36 you want: Credited to 2022 estimated tax a                                                                                       Refunded a               37               21,356
                                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct,
                                                                             and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign                                                                                                                                                                                                                                                        May the IRS discuss this return
                                                                                                                                                                                                                                                            with the preparer shown below?
Here
                                                                         F




                                                                                                                                                                                       F




                                                                                                                                                                                           PRESIDENT                                                        See instructions.     Yes       No
                                                                             Signature of officer                                                         Date                                 Title
                                                                                 Print/Type preparer’s name                                  Preparer’s signature                                                       Date                                      PTIN
Paid                                                                                                                                                                                                                                               Check      if
         PABLO F SANCHEZ              PABLO F SANCHEZ                                                                                                                                                                  02/18/2023                  self-employed P00442523
Preparer
         Firm’s name a Sanchez Professional Services LLC                                                                                                                                                                                     Firm’s EIN a XX-XXXXXXX
Use Only
                                                                                 Firm’s address a      40-20 58th Street Woodside NY 11377                                                                                                   Phone no. (718)489-9600
For Paperwork Reduction Act Notice, see separate instructions. REV 10/24/22 PRO                                                                                                                                                                                            Form 1120 (2021)
BAA
                    Case 1-23-42888-ess                      Doc 16              Filed 08/25/23               Entered 08/25/23 21:29:11


Form 1120 (2021)                                                                                                                                                       Page 2
 Schedule C           Dividends, Inclusions, and Special Deductions (see                                          (a) Dividends and
                                                                                                                                              (b) %
                                                                                                                                                         (c) Special deductions
                      instructions)                                                                                   inclusions                                (a) × (b)

  1       Dividends from less-than-20%-owned domestic corporations (other than debt-financed
          stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                              50
  2       Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
          stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                              65
                                                                                                                                              See
  3       Dividends on certain debt-financed stock of domestic and foreign corporations                   .   .                           instructions


  4       Dividends on certain preferred stock of less-than-20%-owned public utilities                .   .   .                               23.3

  5       Dividends on certain preferred stock of 20%-or-more-owned public utilities .                .   .   .                               26.7

  6       Dividends from less-than-20%-owned foreign corporations and certain FSCs                    .   .   .                               50

  7       Dividends from 20%-or-more-owned foreign corporations and certain FSCs                      .   .   .                               65

  8       Dividends from wholly owned foreign subsidiaries           .   .   .    .   .   .   .   .   .   .   .                               100
                                                                                                                                              See
  9       Subtotal. Add lines 1 through 8. See instructions for limitations .             .   .   .   .   .   .                           instructions

 10       Dividends from domestic corporations received by a small business investment
          company operating under the Small Business Investment Act of 1958 . . . . .                                                         100

 11       Dividends from affiliated group members .          .   .   .   .   .    .   .   .   .   .   .   .   .                               100

 12       Dividends from certain FSCs        .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .                               100
 13       Foreign-source portion of dividends received from a specified 10%-owned foreign
          corporation (excluding hybrid dividends) (see instructions) . . . . . . . . .                                                       100
 14       Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
          (including any hybrid dividends) . . . . . . . . . . . . . . . . .


 15       Reserved for future use .      .   .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .

 16a      Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
          the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
          (see instructions) . . . . . . . . . . . . . . . . . . . . .                                                                        100
      b   Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
          5471) (see instructions) . . . . . . . . . . . . . . . . . . .
    c     Other inclusions from CFCs under subpart F not included on line 16a, 16b, or 17 (attach
          Form(s) 5471) (see instructions) . . . . . . . . . . . . . . . . .

 17       Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992) .                    .


 18       Gross-up for foreign taxes deemed paid         .   .   .   .   .   .    .   .   .   .   .   .   .   .


 19       IC-DISC and former DISC dividends not included on line 1, 2, or 3               .   .   .   .   .   .


 20       Other dividends    .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .


 21       Deduction for dividends paid on certain preferred stock of public utilities             .   .   .   .


 22       Section 250 deduction (attach Form 8993)           .   .   .   .   .    .   .   .   .   .   .   .   .
 23       Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
          page 1, line 4 . . . . . . . . . . . . . . . . . . . . . .
 24       Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b .                .   .     .   .    .    .
                                                                             REV 10/24/22 PRO                                                              Form 1120 (2021)
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Form 1120 (2021)                                                                                                                                                Page 3
 Schedule J           Tax Computation and Payment (see instructions)
Part I—Tax Computation
  1     Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)). See instructions a
  2     Income tax. See instructions . . . . . . . . . . . . . . . . . . . . . . . .                                                        .   2                    0
  3     Base erosion minimum tax amount (attach Form 8991) .             .    .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   3
  4     Add lines 2 and 3 . . . . . . . . . . . .                        .    .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   4                    0
  5a    Foreign tax credit (attach Form 1118) . . . . . .                .    .   .   .   .   .   .   .   .       5a
    b   Credit from Form 8834 (see instructions) . . . .             .   .    .   .   .   .   .   .   .   .       5b
    c   General business credit (attach Form 3800) . . .             .   .    .   .   .   .   .   .   .   .       5c
    d   Credit for prior year minimum tax (attach Form 8827)         .   .    .   .   .   .   .   .   .   .       5d
    e   Bond credits from Form 8912 . . .            .   .   .   .   .   .    .   .   .   .   .   .   .   .       5e
  6     Total credits. Add lines 5a through 5e       .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   6
  7     Subtract line 6 from line 4 . . . .          .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   . .       .   .   .   .   .   7                    0
  8     Personal holding company tax (attach Schedule PH (Form 1120)) .               .   .   .   .   .   .   .   . .       .   .   .   .   .   8
  9a    Recapture of investment credit (attach Form 4255) . . . . .                   .   .   .   .   .   .       9a
    b   Recapture of low-income housing credit (attach Form 8611) . .                 .   .   .   .   .   .       9b
    c   Interest due under the look-back method—completed long-term contracts (attach
        Form 8697) . . . . . . . . . . . . . . . . . . . . . . .                                                  9c
    d   Interest due under the look-back method—income forecast method (attach Form 8866)                         9d
    e   Alternative tax on qualifying shipping activities (attach Form 8902)          .   .   .   .   .   .       9e
    f   Interest/tax due under section 453A(c) and/or section 453(l) . .              .   .   .   .   .   .       9f
    g   Other (see instructions—attach statement)        . . . . . . .                .   .   .   .   .   .       9g
 10     Total. Add lines 9a through 9g . . . . . . . . . . . .                            .   .   .   .   .   .   .     .   .   .   .   .   .   10
 11     Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31 .            .   .   .   .   .   .   .     .   .   .   .   .   .   11                 0
Part II—Reserved For Future Use
 12     Reserved for future use .    .   .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   12
Part III—Payments and Refundable Credits
 13     2020 overpayment credited to 2021        .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   13
 14     2021 estimated tax payments . . .            .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   14         21,356
 15     2021 refund applied for on Form 4466 .       .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   15 (                   )
 16     Combine lines 13, 14, and 15 . . .           .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   16         21,356
 17     Tax deposited with Form 7004 . . . .             .   .   .   .   .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   17
 18     Withholding (see instructions) . . . .           .   .   .   .   .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   18
 19     Total payments. Add lines 16, 17, and 18         .   .   .   .   .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   .   .   19         21,356
 20     Refundable credits from:
    a   Form 2439 . . . . .          .   .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .       20a
    b   Form 4136 . . . . .          .   .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .       20b
    c   Reserved for future use . . . . . .              .   .   .   .   .    .   .   .   .   .   .   .   .     20c
    d   Other (attach statement—see instructions)        .   .   .   .   .    .   .   .   .   .   .   .   .     20d
 21     Total credits. Add lines 20a through 20d .       .   .   .   .   .    .   .   .   .   .   .   .   .   . . .         .   .   .   .   .   21
 22     Reserved for future use . . . . . . . . . . . . . . . . . . .                                         .   .     .   .   .   .   .   .   22
 23     Total payments and credits. Add lines 19 and 21. Enter here and on page 1, line 33 .                  .   .     .   .   .   .   .   .   23         21,356
                                                                              REV 10/24/22 PRO                                                         Form 1120 (2021)
                    Case 1-23-42888-ess                     Doc 16         Filed 08/25/23               Entered 08/25/23 21:29:11


Form 1120 (2021)                                                                                                                                                       Page 4
 Schedule K              Other Information (see instructions)
  1       Check accounting method: a          Cash            b       Accrual        c        Other (specify) a                                                  Yes     No
  2       See the instructions and enter the:
      a   Business activity code no. a 722511
      b   Business activity a RESTAURANT
      c   Product or service a PRODUCT AND               SERVICE
  3       Is the corporation a subsidiary in an affiliated group or a parent–subsidiary controlled group?         .   .      .   .   .   .   .   .   .    .
          If “Yes,” enter name and EIN of the parent corporation a


  4       At the end of the tax year:

      a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
          organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
          corporation’s stock entitled to vote? If “Yes,” complete Part I of Schedule G (Form 1120) (attach Schedule G) . . . . . .
      b   Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
          classes of the corporation’s stock entitled to vote? If “Yes,” complete Part II of Schedule G (Form 1120) (attach Schedule G) .
  5       At the end of the tax year, did the corporation:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of
          any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions.
          If “Yes,” complete (i) through (iv) below.
                                                                                             (ii) Employer                (iii) Country of               (iv) Percentage
                               (i) Name of Corporation                                   Identification Number                                           Owned in Voting
                                                                                                  (if any)                 Incorporation                      Stock




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
        (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions.
        If “Yes,” complete (i) through (iv) below.
                                                                                             (ii) Employer                (iii) Country of               (iv) Maximum
                                  (i) Name of Entity                                     Identification Number                                       Percentage Owned in
                                                                                                  (if any)                  Organization             Profit, Loss, or Capital




  6       During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
          excess of the corporation’s current and accumulated earnings and profits? See sections 301 and 316 . . . . . . . .
          If “Yes,” file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
          If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
  7       At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
          classes of the corporation’s stock entitled to vote or at least 25% of the total value of all classes of the corporation’s stock? .
          For rules of attribution, see section 318. If “Yes,” enter:
          (a) Percentage owned a                         and (b) Owner’s country a
          (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
          Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached a
  8       Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . a
          If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
  9       Enter the amount of tax-exempt interest received or accrued during the tax year a $
 10       Enter the number of shareholders at the end of the tax year (if 100 or fewer) a
 11       If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions) a
          If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
          or the election will not be valid.
 12       Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
          page 1, line 29a.) . . . . . . . . . . . . . . . . . . . . . . . . . a $
                                                                                REV 10/24/22 PRO                                                         Form 1120 (2021)
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Form 1120 (2021)                                                                                                                                               Page 5
 Schedule K              Other Information (continued from page 4)
                                                                                                                                                         Yes     No
 13       Are the corporation’s total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the
          tax year less than $250,000?     . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
          distributions and the book value of property distributions (other than cash) made during the tax year a $            0.
 14       Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions             .   .   .   .
          If “Yes,” complete and attach Schedule UTP.
 15a      Did the corporation make any payments in 2021 that would require it to file Form(s) 1099?        .   .   .   .   .   .   .   .   .   .   .
   b      If “Yes,” did or will the corporation file required Form(s) 1099? . . . . . . . . .              .   .   .   .   .   .   .   .   .   .   .
 16       During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
          own stock?      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 17       During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
          of its assets in a taxable, non-taxable, or tax deferred transaction? . . . . . . . . . . . . . . . . . .
 18       Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
          market value of more than $1 million? . . . . . . . . . . . . . . . . . . . . . . . . . . .
 19       During the corporation’s tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
          under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? . . . . . . . .
 20       Is the corporation operating on a cooperative basis?. . . . . . . . . . . . . . . . . . . . . . .
 21       During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
          267A? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” enter the total amount of the disallowed deductions a $
 22       Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
          and (3)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          If “Yes,” complete and attach Form 8991.
 23       Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
          during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .
 24       Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . .
    a     The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
    b     The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
          current tax year are more than $26 million and the corporation has business interest expense.
      c   The corporation is a tax shelter and the corporation has business interest expense.
          If “Yes,” complete and attach Form 8990.
 25       Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . .
          If “Yes,” enter amount from Form 8996, line 15 . . . . a $

 26       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly or
          indirectly by the corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
          50% (for example, the shareholders held more than 50% of the stock of the foreign corporation)? If “Yes,” list the ownership
          percentage by vote and by value. See instructions . . . . . . . . . . . . . . . . . . . . . . .
          Percentage: By Vote                                                   By Value
                                                                        REV 10/24/22 PRO                                                           Form 1120 (2021)
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Form 1120 (2021)                                                                                                                                                       Page 6
 Schedule L                 Balance Sheets per Books                            Beginning of tax year                                      End of tax year
                                     Assets                                 (a)                     (b)                              (c)                         (d)
  1       Cash     .    .    .   .   .   .   .   .   .   .   .   .                                           1,041.                                                2,426.
  2a      Trade notes and accounts receivable .              .   .
    b     Less allowance for bad debts . . .                 .   .   (                  )                                   (                        )
  3       Inventories . . . . . . . . .                      .   .                                           7,082.                                                7,082.
  4       U.S. government obligations      . . .             .   .
  5       Tax-exempt securities (see instructions)           .   .
  6       Other current assets (attach statement)            .   .                                       137,423.                                                        0.
  7       Loans to shareholders . . . . .                    .   .
  8       Mortgage and real estate loans . . .               .   .
  9       Other investments (attach statement) .             .   .
 10a      Buildings and other depreciable assets             .   .        200,556.                                                  325,808.
    b     Less accumulated depreciation . . .                .   .   (     61,497. )                     139,059. (                195,638. )                   130,170.
 11a      Depletable assets . . . . . . .                    .   .
    b     Less accumulated depletion . . . .                 .   .   (                  )                                   (                        )
 12       Land (net of any amortization) . . .               .   .
 13a      Intangible assets (amortizable only)   .           .   .        131,850.                                                  131,850.
    b     Less accumulated amortization . . .                .   .   (     51,281. )                       80,569. (                82,281. )                    49,569.
 14       Other assets (attach statement) . . .              .   .                                                                                                    0.
 15       Total assets    . . . . . . . .                    .   .                                       365,174.                                               189,247.
              Liabilities and Shareholders’ Equity
 16       Accounts payable . . . . . . . . .
 17       Mortgages, notes, bonds payable in less than 1 year
 18       Other current liabilities (attach statement) . .                                                   9,893.                                                      0.
 19       Loans from shareholders . . . . . . .
 20       Mortgages, notes, bonds payable in 1 year or more                                                57,495.                                              458,764.
 21       Other liabilities (attach statement) . . . .                                                     74,018.
 22       Capital stock:     a Preferred stock . . . .
                             b Common stock . . . .                       300,000.                       300,000.                                  0.                  0.
 23       Additional paid-in capital . . . . . . .                                                        23,000.                                                 23,000.
 24       Retained earnings—Appropriated (attach statement)
 25       Retained earnings—Unappropriated . . .                                                         -99,232.                                              -292,517.
 26       Adjustments to shareholders’ equity (attach statement)
 27       Less cost of treasury stock . . . . . .                                           (                           )                                (                  )
 28       Total liabilities and shareholders’ equity . .                      365,174.                                                                          189,247.
Schedule M-1                Reconciliation of Income (Loss) per Books With Income per Return
                            Note: The corporation may be required to file Schedule M-3. See instructions.
  1       Net income (loss) per books .          .   .   .   .   .        -193,285.             7      Income recorded on books this year
  2       Federal income tax per books           .   .   .   .   .                                     not included on this return (itemize):
  3       Excess of capital losses over capital gains            .                                     Tax-exempt interest $
  4       Income subject to tax not recorded on books
          this year (itemize):
                                                                                                8     Deductions on this return not charged
  5       Expenses recorded on books this year not                                                    against book income this year (itemize):
          deducted on this return (itemize):                                                        a Depreciation . . $
      a   Depreciation . . . . $                                                                    b Charitable contributions $
      b   Charitable contributions . $         658.
      c   Travel and entertainment . $       2,809.
                                               3,467. 9 Add lines 7 and 8 . . . . . .
  6       Add lines 1 through 5 .        .  -189,818. 10 Income (page 1, line 28)—line 6 less line 9
                                             .   .   .   .   .   .                                                                                             -189,818.
Schedule M-2 Analysis of Unappropriated Retained Earnings per Books (Schedule L, Line 25)
 1  Balance at beginning of year  . . . . .  -99,232. 5 Distributions: a Cash . . . . .
 2  Net income (loss) per books . . . . . . -193,285.                  b Stock       . . . .
  3       Other increases (itemize):                                                                                c Property .       .   .   .
                                                                                                6      Other decreases (itemize):
                                                                                                7      Add lines 5 and 6 . . . . . .
  4       Add lines 1, 2, and 3 .        .   .   .   .   .   .   .        -292,517.             8      Balance at end of year (line 4 less line 7)             -292,517.
                                                                           REV 10/24/22 PRO                                                                  Form 1120 (2021)
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Form       1125-A                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                              OMB No. 1545-0123
                                                     a Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury                          a Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                                                  Employer identification number
BAOBURG INC.                                                                                                                                          XX-XXXXXXX
   1       Inventory at beginning of year   .   .     .   .    .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .     .           1
   2       Purchases . . . . . .            .   .     .   .    .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .     .           2                       366,255
   3       Cost of labor . . . . . . . . . . . . . . . . .                                      .   .   .   .   .   .   .   .     .           3
   4       Additional section 263A costs (attach schedule) . . . . . . .                        .   .   .   .   .   .   .   .     .           4
   5       Other costs (attach schedule) . . . . See    . . Statement
                                                             . . . . . .                        .   .   .   .   .   .   .   .     .           5                       235,661
   6       Total. Add lines 1 through 5 .   .   .     .   .    .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .     .           6                       601,916
   7       Inventory at end of year . .     .   .     .   .    .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .     .           7
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return. See instructions . . . . . . . . . . . . . . .                                                8                       601,916
   9a      Check all methods used for valuing closing inventory:
            (i)  Cost
            (ii)  Lower of cost or market
           (iii)  Other (Specify method used and attach explanation.) a
    b      Check if there was a writedown of subnormal goods    . . .                   .   .   .   .   .   .   .   .   .   .     .   .   .       .   .   .   .   .    .    a

    c      Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                               .   .   .   .   .    .    a

    d      If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
           under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              9d
    e      If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions .                           .           Yes       No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If “Yes,”
           attach explanation  . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                              Yes       No


Section references are to the Internal                        merchandise is an income-producing                                   Small business taxpayer. A small
Revenue Code unless otherwise noted.                          factor. See Regulations section 1.471-1. If                       business taxpayer is a taxpayer that (a) has
                                                              inventories are required, you generally                           average annual gross receipts of $25
What's New                                                    must use an accrual method of accounting                          million or less (indexed for inflation) for the
Small business taxpayers. For tax years                       for sales and purchases of inventory items.                       3 prior tax years, and (b) is not a tax shelter
beginning after December 31, 2017, the                        Exception for certain taxpayers. A small                          (as defined in section 448(d)(3)). See Pub.
following apply.                                              business taxpayer (defined below), can                            538.
• A small business taxpayer (defined                          adopt or change its accounting method to                          Uniform capitalization rules. The uniform
below), may use a method of accounting for                    account for inventories in the same manner                        capitalization rules of section 263A
inventories that either: (1) treats inventories               as material and supplies that are non-                            generally require you to capitalize, or
as nonincidental materials and supplies, or                   incidental, or conform to its treatment of                        include in inventory, certain costs incurred
(2) conforms to the taxpayer's financial                      inventories in an applicable financial                            in connection with the following.
accounting treatment of inventories.                          statement (as defined in section 451(b)(3)),                      • The production of real property and
• A small business taxpayer is not required                   or if it does not have an applicable financial                    tangible personal property held in inventory
to capitalize costs under section 263A.                       statement, the method of accounting used                          or held for sale in the ordinary course of
                                                              in its books and records prepared in                              business.
General Instructions                                          accordance with its accounting
                                                                                                                                • Real property or personal property
                                                              procedures. See section 471(c)(3).
Purpose of Form                                                                                                                 (tangible and intangible) acquired for resale.
                                                                 A small business taxpayer claiming
Use Form 1125-A to calculate and deduct                                                                                         • The production of real property and
                                                              exemption from the requirement to keep
cost of goods sold for certain entities.                                                                                        tangible personal property for use in its
                                                              inventories is changing its method of
                                                                                                                                trade or business or in an activity engaged
Who Must File                                                 accounting for purposes of section 481.
                                                                                                                                in for profit.
                                                              For additional guidance on this method of
Filers of Form 1120, 1120-C, 1120-F,                          accounting, see Pub. 538, Accounting                                 A small business taxpayer (defined
1120S, or 1065, must complete and attach                      Periods and Methods. For guidance on                              above) is not required to capitalize costs
Form 1125-A if the applicable entity reports                  changing to this method of accounting, see                        under section 263A. See section 263A(i).
a deduction for cost of goods sold.                           Form 3115 and the Instructions for Form                              See the discussion on section 263A
Inventories                                                   3115.                                                             uniform capitalization rules in the
                                                                                                                                instructions for your tax return before
Generally, inventories are required at the                                                                                      completing Form 1125-A. Also see
beginning and end of each tax year if the                                                                                       Regulations sections 1.263A-1 through
production, purchase, or sale of                                                                                                1.263A-3. See Regulations section
                                                                                                                                1.263A-4 for rules for property produced in
                                                                                                                                a farming business.




For Paperwork Reduction Act Notice, see instructions. BAA                                                                        REV 10/24/22 PRO         Form 1125-A (Rev. 11-2018)
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SCHEDULE G                                    Information on Certain Persons Owning the
(Form 1120)
(Rev. December 2011)
                                                      Corporation’s Voting Stock                                                                                OMB No. 1545-0123
                                                                               a Attach to Form 1120.
Department of the Treasury
Internal Revenue Service                                                 a See instructions on page 2.
Name                                                                                                                                 Employer identification number (EIN)


BAOBURG INC.                                                                        XX-XXXXXXX
 Part I Certain Entities Owning the Corporation’s Voting Stock. (Form 1120, Schedule K, Question 4a). Complete
        columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated
        as a partnership), trust, or tax-exempt organization that owns directly 20% or more, or owns, directly or
        indirectly, 50% or more of the total voting power of all classes of the corporation’s stock entitled to vote (see
        instructions).
                                                (ii) Employer Identification
             (i) Name of Entity                                                   (iii) Type of Entity           (iv) Country of Organization     (v) Percentage Owned in Voting Stock
                                                       Number (if any)




 Part II       Certain Individuals and Estates Owning the Corporation’s Voting Stock. (Form 1120, Schedule K,
               Question 4b). Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or
               more, or owns, directly or indirectly, 50% or more of the total voting power of all classes of the corporation’s
               stock entitled to vote (see instructions).
                                                                                                         (ii) Identifying Number      (iii) Country of       (iv) Percentage Owned
                                  (i) Name of Individual or Estate                                                                   Citizenship (see
                                                                                                                   (if any)            instructions)              in Voting Stock


SUCHANAN AKSORNNAN                                                                                                  -6128          US                                            100




For Paperwork Reduction Act Notice,                                               REV 10/24/22 PRO                                              Schedule G (Form 1120) (Rev. 12-2011)
see the Instructions for Form 1120. BAA
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Form   1125-E                                               Compensation of Officers
(Rev. October 2016)                                                                                                                                       OMB No. 1545-0123
                                            a Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
Department of the Treasury
                              a Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
Internal Revenue Service
Name                                                                                                                                            Employer identification number
BAOBURG INC.                                                                                                                                    XX-XXXXXXX
Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                 (b) Social security number         (c) Percent of        Percent of stock owned             (f) Amount of
                      (a) Name of officer                                                         time devoted to
                                                                      (see instructions)               business       (d) Common        (e) Preferred        compensation



   1 SUCHANAN AKSORNNAN                                         6128                                      100 %                100 %                %             19,893.

                                                                                                                  %                 %               %


                                                                                                                  %                 %               %


                                                                                                                  %                 %               %


                                                                                                                  %                 %               %


                                                                                                                  %                 %               %


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                                                                                                                  %                 %               %


                                                                                                                  %                 %               %


                                                                                                                  %                 %               %


                                                                                                                  %                 %               %

   2     Total compensation of officers .           .   .   .    .   .   .   .    .   .   .   .   .   .   .   .   .   .    .    .   .   .   .      2               19,893.

   3     Compensation of officers claimed on Form 1125-A or elsewhere on return                               .   .   .    .    .   .   .   .      3

   4     Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
         appropriate line of your tax return . . . . . . . . . . . . . . . . . . . . . .                                                           4               19,893.
For Paperwork Reduction Act Notice, see separate instructions. BAA                                                              REV 10/24/22 PRO    Form 1125-E (Rev. 10-2016)
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  Form 1120, Line 29a               Net Operating Loss Worksheet                                   2021


Name                                                                                   Employer Identification Number
BAOBURG INC.                                                                           XX-XXXXXXX

                                             Important Information
                                          Tax Cuts and Jobs Act (TCJA)

  For taxable years ending after December 31, 2017, Net Operating Loss (NOL) rules for carrybacks and
  carryforwards have changed under the Tax Cuts and Jobs Act (TCJA). Except for certain farming and
  insurance company (other than life insurance) losses, NOLs can no longer be carried back. NOLs can
  now be carried forward indefinitely.



                          NOLs under Tax Cuts and Jobs Act of 2017 Smart Worksheet

   A Is the Net Operating Loss from certain farming losses?                                  Yes          No
   B If "Yes" to line A, is the business electing out of the two year carryback?             Yes          No
     QuickZoom to Election Statement
     QuickZoom to Form 1139

  NOL’s under Tax Cuts and Jobs Act of 2017 : Carryover indefinitely

                         NOL                                       A                   B                   C
                       Carryover                               Carryover              Less             Adjusted
                         Year                                                      Carrybacks          Carryover

2020
2019
2018
Totals
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   NOL’s under Taxpayer Relief Act of 1997 : Two year carryback, twenty year carryover

                           NOL                                  A              B                  C
                         Carryover                          Carryover        Less             Adjusted
                           Year                                           Carrybacks/         Carryover
                                                                          Carryovers

2017
2016
2015
2014
2013
2012
2011
2010
2009
2008
2007
2006
2005
2004
2003
2002
2001
Totals


   NOL’s prior to Taxpayer Relief Act of 1997: Three year carryback, fifteen year carryover

                           NOL                                  A              B                  C
                         Carryover                          Carryover        Less             Adjusted
                           Year                                           Carrybacks/         Carryover
                                                                          Carryovers

2011
2010
2009
2008
2007
2006
Totals

 BAOBURG INC.                                                                  XX-XXXXXXX
                                     Net Operating Loss Summary
 NOL             A                B              C                D             E                 F
 C/O           NOL            Deduction      Adjustment       Remaining     Remaining         Remaining
 Year        Carryover        Allowed in    Under Section     Carryover     Carryover         Carryover
             Available       Current Year     172(b)(2)        20 Years     Indefinite        15 Years*

2020
2019
2018
2017
2016
2015
2014
2013
2012
2011
2010
2009
2008
2007
2006
2005
2004
2003
2002
2001
Totals

Less: Carryover expiring due to 20-year limitation
Less: Carryover expiring due to 15-year limitation
Add: Current year net operating loss                                                           189,818.
Less: Carryback of current year net operating loss
Net operating loss carryover to next year                                                      189,818.
cpcw7601.SCR 09/16/21
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BAOBURG INC.                                                              XX-XXXXXXX                1



Additional information from your 2021 Federal Corporation Tax Return

Form 1120: US Corporation Income Tax Return
Other Deductions                                                           Continuation Statement
                                  Description                                          Amount
AUTOMOBILE AND TRUCK EXPENSE                                                                      188
BANK CHARGES                                                                                    2,288
CLEANING                                                                                    12,560
COMPUTER SERVICES AND SUPPLIES                                                                  5,724
DUES AND SUBSCRIPTIONS                                                                          2,797
INSURANCE                                                                                   10,407
LEGAL AND PROFESSIONAL                                                                      30,129
MEALS (50%)                                                                                     2,810
OUTSIDE SERVICES                                                                           152,538
SUPPLIES                                                                                        5,318
TRAVEL                                                                                          4,626
UNIFORMS                                                                                          275
UTILITIES                                                                                   41,440
PEST CONTROL                                                                                    5,097
DEPRECIATION EXPENSE                                                                       134,141
AMORTIZATION EXPENSE                                                                        25,500
                                                                         Total             435,838

Form 1125-A: Cost of Goods Sold
Other Costs Statement                                                      Continuation Statement
                                  Other Cost                                      Other Amount
DELIVERY SERVICES                                                                          213,433
MERCHANT ACCOUNT FEES                                                                       21,255
SMALL TOOLS                                                                                       973
                                                                         Total             235,661
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                                                                                                                                                                                        CT-3
                                                        Department of Taxation and Finance

                                                        *HQHUDO%XVLQHVV&RUSRUDWLRQ
                                                        )UDQFKLVH7D[5HWXUQ
                                                        7D[/DZ±$UWLFOH$


&DXWLRQ This form must be used RQO\ for tax periods beginning on or after January 1, 2021. If you use it for any prior periods,
the return will QRW be processed and will QRWEHFRQVLGHUHGWLPHO\¿OHG$VDUHVXOWSHQDOWLHVDQGLQWHUHVWPD\EHLQFXUUHG


See instructions, Form CT-3-I, before completing return.                                                               $OO¿OHUVPXVWHQWHUWD[SHULRG

   Final return                  Amended return                                                                        beginning            10-01-21                   ending          09-30-22
    (PSOR\HULGHQWL¿FDWLRQQXPEHU (,1                                  )LOHQXPEHU        %XVLQHVVWHOHSKRQHQXPEHU
                                                                                                                                          If you claim an overpayment,
           475233822                                                    AA4                ( 917 ) 496-0125                               mark an X in the box ................................
    /HJDOQDPHRIFRUSRUDWLRQ                                                                                         7UDGHQDPH'%$

    BAOBURG INC.
    Mailing address                                                                                                     State or country of incorporation

    Care of (c/o)                                                                                                       NY
    Number and street or PO box                                                                                         Date of incorporation               )RUHLJQFRUSRUDWLRQV date began business in NYS

    614 MANHATTAN AVE                                                                                                             10-05-15
    City                                 U.S. state/Canadian province    ZIP/Postal code         Country (if not United States)                             )RUR௻FHXVHRQO\

    BROOKLYN                                                  NY        11222
    Principal business activity in NYS                                                      NAICS business code number (from NYS Pub 910)

    RESTAURANT                                                                              722511
    If you need to update your address or phone information for corporation tax, or other tax types, you can do so online.
    See Business information in Form CT-1.


 A. Pay amount shown on Part 2, line 19c. Make payable to: New York State Corporation Tax                                                                                    Payment enclosed
    Attach your payment here. (Detach all check stubs; see instructions for details.)                                                                       A                            1,500
 B. Are you subject to the metropolitan transportation business tax (MTA surcharge)? (see instructions;
      mark an X in the appropriate box ) ..................................................................................................................              B       Yes     X     No

 C. If you are disclaiming tax liability in New York State based on Public Law 86-272, mark an X
       in the box (see instructions) ...................................................................................................................................................             C

 D. Do you have an interest in any partnerships? (mark an X in the appropriate box) ...........................................                                          D       Yes           No        X
      If Yes, enter the name(s) and EIN(s) on Form CT-60 and attach it to your return.
                                 Designee’s name (print)                                                                                                          Designee’s phone number
7KLUG±SDUW\ Yes     No                                                                                                                                         (          )
 GHVLJQHH Designee’s email address
 (see instructions)                                                                                                                                                              PIN

&HUWL¿FDWLRQ I certify that this return and any attachments are to the best of my knowledge and belief true, correct, and complete.
                    3ULQWHGQDPHRIDXWKRUL]HGSHUVRQ                            6LJQDWXUHRIDXWKRUL]HGSHUVRQ                                    2ႈFLDOWLWOH
$XWKRUL]HG PABLO SANCHEZ                                                                                                                          PRESIDENT
 SHUVRQ Email address of authorized person                                                                                        Telephone number                            Date
                    PABLO@SANCHEZLLC.COM                                                                                          ( 917)        496-0125                           02-17-23
   Paid             Firm’s name (or yours if self-employed)                                                             Firm’s EIN                                    Preparer’s PTIN or SSN
 SUHSDUHU
                    SANCHEZ PROFESSIONAL SERVICES LLC                                                                             020713819                           P00442523
                    Signature of individual preparing this return              Address                                                          City                     State          ZIP code
   XVH              PABLO F SANCHEZ                                            40-20 58TH STREET WOODSIDE NY 11377
   RQO\             Email address of individual preparing this return                                                 Preparer’s NYTPRIN               or    Excl. code Date
 (see instr.)       PABLO@SANCHEZLLC.COM                                                                                                                        03                   02-18-23
6HHLQVWUXFWLRQVIRUZKHUHWR¿OH

&RQWHQWRI)RUP&7
 Part 1 – General corporate information                                                             Part 5 – Computation of investment capital for the current tax year
 Part 2 – Computation of balance due or overpayment                                                 Part 6 – Computation of business apportionment factor
 Part 3 – Computation of tax on business income base                                                Part 7 – Summary of tax credits claimed
 Part 4 – Computation of tax on capital base

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3DUW±*HQHUDOFRUSRUDWHLQIRUPDWLRQ
6HFWLRQ$±4XDOL¿FDWLRQIRUSUHIHUHQWLDOWD[UDWHV± ,I\RXDUHDFRUSRUDWLRQDVLGHQWL¿HGLQWKLVVHFWLRQDQGTXDOLI\IRU
preferential tax rates, mark an X in the boxes that apply to you (see instructions).
    1 $TXDOL¿HGHPHUJLQJWHFKQRORJ\FRPSDQ\ 4(7& HOLJLEOHIRUWKHORZHUEXVLQHVVLQFRPHEDVHWD[UDWHFDSLWDO
         EDVHWD[UDWHDQGORZHU¿[HGGROODUPLQLPXPWD[DPRXQWV ..............................................................................................                                 1
     $TXDOL¿HG1HZ<RUNPDQXIDFWXUHUEDVHGRQWKHSULQFLSDOO\HQJDJHGWHVWHOLJLEOHIRUWKHEXVLQHVVLQFRPH
      EDVHWD[UDWHDQGORZHU¿[HGGROODUPLQLPXPWD[DPRXQWV ...............................................................................................                                 
    3 $TXDOL¿HG1HZ<RUNPDQXIDFWXUHUEDVHGRQWKHSULQFLSDOO\HQJDJHGWHVWHOLJLEOHIRUWKHFDSLWDOEDVH
         tax rate .............................................................................................................................................................................. 3
    4 $TXDOL¿HG1HZ<RUNPDQXIDFWXUHUEDVHGRQWKHVLJQL¿FDQWHPSOR\PHQWDQGSURSHUW\WHVWHOLJLEOHIRUWKHEXVLQHVV
      LQFRPHEDVHWD[UDWHFDSLWDOEDVHWD[UDWHDQGORZHU¿[HGGROODUPLQLPXPWD[DPRXQWV ........................................                                                      4
    5 $FRRSHUDWLYHKRXVLQJFRUSRUDWLRQHOLJLEOHIRUWKHFDSLWDOEDVHWD[UDWH..........................................................................                                      5
    6 $VPDOOEXVLQHVVWD[SD\HUHOLJLEOHIRUWKHFDSLWDOEDVHWD[UDWH......................................................................................                                 6 X
         ,I\RXPDUNHGWKLVER[FRPSOHWHOLQHDEHORZDQG6HFWLRQ%OLQH
       6a Total capital contributions .........................................................................................................                6a                          23,000
    7 $TXDOL¿HGHQWLW\RID1HZ<RUN6WDWHLQQRYDWLRQKRWVSRWWKDWRSHUDWHVVROHO\ZLWKLQVXFK1HZ<RUN6WDWHLQQRYDWLRQ
      KRWVSRWDQG\RXKDYHHOHFWHGWREHVXEMHFWRQO\WRWKH¿[HGGROODUPLQLPXPWD[EDVH .................................................                                                7

6HFWLRQ%±1HZ<RUN6WDWHLQIRUPDWLRQ (see instructions)
    1 Number of New York State employees ................................................................................................                     1
     Wages paid to New York State employees .....................................................................................                       
    3 Number of business establishments in New York State .....................................................................................                             3
    4 If you have an interest in, or have rented, real property in New York State, mark an X in the box........................................                                               4
    5 ,I\RXDUHFODLPLQJDQH[FHSWLRQWRWKHUHODWHGPHPEHUH[SHQVHDGGEDFNXQGHU7D[/DZ R  % 
         mark an X in the box ..........................................................................................................................................................      5
      5a If you marked the line 5 box, use line 5a to report the applicable exception                                                        1XPEHU                         $PRXQW
             number (1-4) and the amount of royalty payments ............................................. 5a
    6 If you are not protected by Public Law 86-272 and are subject to tax VROHO\ as a result of deriving receipts in
         New York State, mark an X in the box ...............................................................................................................................                 6

6HFWLRQ&±)LOLQJLQIRUPDWLRQ
     )HGHUDOUHWXUQ¿OHG± you must mark an X in one box and attach a complete copy of your federal return
                                                    1120-REIT
      1120     X       1120 consolidated            or 1120-RIC             1120S               1120F                                                                       1120-H

     $PHQGHGUHWXUQ± If you marked the amended return box on page 1, then for any item(s) that apply, mark an X in the box
       and attach documentation:                                           Failure to meet investment capital holding period
        Final federal                      Date of determination                        NOL                            Capital loss
        determination                                                                   carryback                      carryback ...                     1139                     1120X

       D (QWHUWKHWD[GXHDPRXQWIURP\RXUPRVWUHFHQWO\¿OHG1HZ<RUN6WDWHUHWXUQIRUWKLVWD[SHULRG                                                D

    3 5HTXLUHGDWWDFKPHQWV± For all forms, other than tax credit claim forms, that are attached to this return, mark an X in the applicable box(es)

        CT-3.1                 CT-3.2                  CT-3.3                 CT-3.4          X        CT-60                 CT-225                  CT-227
        Other (identify):
    4 If you are claiming tax credits, enter the number of tax credit forms attached to this return. Where multiple forms
      DUH¿OHGIRUWKHVDPHFUHGLWFRXQWeachIRUP¿OHG ..........................................................................................   4
    5 ,I\RX¿OHGIHGHUDO)RUP)DQG\RXKDYHHႇHFWLYHO\FRQQHFWHGLQFRPH (&, PDUNDQX in the box ............................                                   5
    6 :HUH\RXUHTXLUHGWRUHSRUWDQ\QRQTXDOL¿HGGHIHUUHGFRPSHQVDWLRQDVUHTXLUHGE\,QWHUQDO5HYHQXH
         Code (IRC) §457A, on your 2021 federal return? (see instructions) ................................................................. Yes                   No X
    7 If you are a foreign corporation computing your tax taking into account RQO\ your distributive shares from PXOWLSOH limited
          partnerships, mark an XLQWKHER[DQG¿OH)RUP&7........................................................................................................



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3DUW±&RPSXWDWLRQRIEDODQFHGXHRURYHUSD\PHQW
/DUJHVWRIWKUHHWD[EDVHVPLQXVFUHGLWV
  1a %XVLQHVVLQFRPHEDVHWD[(from Part 3, line 20) ..............................                        1a                                   0
 E Capital base tax (from Part 4, line 15; see instructions) ......................                      E                                   0
                                                          New York receipts

  1c Fixed dollar minimum tax (see instr)                           1,056,713. ..... 1c                                                 1,500
   Tax due (enter the amount from line 1a, 1b, or 1c, whichever is largest; see instructions) ...........................                                              1,500
   3 Tax credits used (from Part 7, line 2; see instructions) .........................................................................                   3
   4 Tax due after credits (subtract line 3 from line 2; if line 3 is more than line 2, enter 0) ..............................                           4                 1,500
3HQDOWLHVDQGLQWHUHVW
   5 Estimated tax penalty (see instructions; if Form CT-222 is
        attached, mark an X in the box) ..........................................                          5                                     0
   6 Interest on late payment (see instructions) ......................................                     6
   7 /DWH¿OLQJDQGODWHSD\PHQWSHQDOWLHV(see instructions) .................                             7
   8 Total penalties and interest (add lines 5, 6, and 7) .............................................................................                   8
9ROXQWDU\JLIWVFRQWULEXWLRQV
    Total voluntary gifts/contributions (from Form CT-227, Part 2, line 1) ..................................................                           
  10 Total amount due (add lines 4, 8, and 9) ............................................................................................               10                 1,500
3UHSD\PHQWV
  11 0DQGDWRU\¿UVWLQVWDOOPHQWIURP)RUP&7(see instructions) ...... 11
  Second installment (from Form CT-400) ............................................ 
  13 Third installment (from Form CT-400) ................................................ 13
  14 Fourth installment (from Form CT-400) .............................................. 14
  15 Payment with extension request (from Form CT-5, line 5) .................. 15
  16 Overpayment credited from prior years (see instr.) Period                                            16
  17 Overpayment credited from CT-3-M Period                                                .......... 17
  18 Total prepayments (add lines 11 through 17; see instructions) ..............................................................                        18
3D\PHQWGXHRURYHUSD\PHQWWREHFUHGLWHGUHIXQGHG (see instructions)
D Underpayment ................................................................................................................................       D                1,500
E Additional amount for 2022 MFI .....................................................................................................               E                    0
 F %DODQFHGXH ...................................................................................................................................   F                1,500
D Excess prepayments ......................................................................................................................           D
 E Amount previously credited to 2022 MFI .......................................................................................                      E
 F Overpayment .................................................................................................................................       F
  Amount of overpayment to be credited to next period ...................................................................                              
  %DODQFHRIRYHUSD\PHQWDYDLODEOH(subtract line 21 from line 20c) .....................................................                             
  Amount of overpayment to be credited to Form CT-3-M ................................................................                                 
  %DODQFHRIRYHUSD\PHQWWREHUHIXQGHG(subtract line 23 from line 22) ..............................................                                
  Unused tax credits to be refunded ...............................................                    
  Unused tax credits applied to next period ....................................                       




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3DUW±&RPSXWDWLRQRIWD[RQEXVLQHVVLQFRPHEDVH
   1 Federal taxable income (FTI) before net operating loss (NOL) and special deductions (see instructions)                                          1 -189,818
   Additions to FTI (from Form CT-225, line 5) ........................................................................................            
   3 Add lines 1 and 2 ............................................................................................................................  3 -189,818
   4 Subtractions from FTI (from Form CT-225, line 10) .............................................................................                 4
   5 Subtract line 4 from line 3 ...............................................................................................................     5 -189,818
   6 6XEWUDFWLRQPRGL¿FDWLRQIRUTXDOL¿HGEDQNV(from Form CT-3.2, Schedule A, line 1; see instructions) ...                                         6
   7 Entire net income (ENI) (subtract line 6 from line 5) ...........................................................................               7 -189,818
   8 Investment and other exempt income (from Form CT-3.1, Schedule D, line 1) ....................................                                  8
  Subtract line 8 from line 7 ...............................................................................................................      -189,818
  10 Excess interest deductions attributable to investment income, investment capital, and other
          exempt income (from Form CT-3.1, Schedule D, line 2) ...................................................................                  10
  11 %XVLQHVVLQFRPH(add lines 9 and 10) ...............................................................................................           11 -189,818
  Addback of income previously reported as investment income (from Form CT-3.1, Schedule F,
         line 6; if zero, enter 0; see instructions) .............................................................................................          0
  13 %XVLQHVVLQFRPHDIWHUDGGEDFN(add lines 11 and 12) .......................................................................                    13 -189,818
  14 %XVLQHVVDSSRUWLRQPHQWIDFWRU(from Part 6, line 56) .........................................................................                 14   1.000000
  15 Apportioned business income after addback (multiply line 13 by line 14) ...........................................                            15 -189,818
  16 Prior net operating loss conversion subtraction (from Form CT-3.3, Schedule C, line 4) .......................                                 16        0
  17 Subtract line 16 from line 15 ...........................................................................................................      17 -189,818
  18 NOL deduction (from Form CT-3.4, line 6) ..........................................................................................            18        0
  %XVLQHVVLQFRPHEDVH(subtract line 18 from line 17) .........................................................................                 -189,818
  %XVLQHVVLQFRPHEDVHWD[(multiply line 19 by the appropriate business income tax rate from the tax
         rates schedule in Form CT-3-I; enter here and on Part 2, line 1a; see instructions) .................................                              0
1RWH If you make any entry on line 2, 4, 6, 8, 10, 12, 16, or 18, you PXVWFRPSOHWHDQG¿OHWKHDSSURSULDWHDWWDFKPHQWIRUPRUDQ\WD[
EHQH¿WFODLPHGPD\EHGLVDOORZHGRUWKHUHPD\EHDGHOD\LQUHFHLYLQJVXFKEHQH¿W,QDGGLWLRQDOODPRXQWVHQWHUHGRQWKHVHOLQHV
must be entered as positive numbers.




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3DUW±&RPSXWDWLRQRIWD[RQFDSLWDOEDVH (see instructions)
                                                                                           A                                      B                                C
                                                                                    %HJLQQLQJRI\HDU                         End of year                     Average value
   1 Total assets from federal return ................               1              365,174                                     189,247                               277,211
    Real property and marketable securities
        included on line 1 .................................         
   3 Subtract line 2 from line 1 ........................            3              365,174                                     189,247                               277,211
   4 Real property and marketable securities
        at fair market value .................................       4
   5 Adjusted total assets (add lines 3 and 4) .......               5              365,174                                     189,247                               277,211
   6 Total liabilities ............................................. 6              141,406                                     458,764                               300,085
   7 Total net assets (subtract line 6, column C, from line 5, column C) ........................................................              7                      -22,874
   8 Investment capital (from Part 5, line 19; if zero or less, enter 0) ............................................................          8                            0
  %XVLQHVVFDSLWDO(subtract line 8 from line 7) .......................................................................................                         -22,874
  10 Addback of capital previously reported as investment capital (from Part 5, line 20, column C; if zero or less, enter 0)                  10                            0
  11 Total business capital (add lines 9 and 10) ........................................................................................     11                      -22,874
   %XVLQHVVDSSRUWLRQPHQWIDFWRU(from Part 6, line 56) .........................................................................                                 1.000000
  13 Apportioned business capital (multiply line 11 by line 12) ...................................................................           13                      -22,874
  14
  15 Capital base tax (multiply line 13 by the appropriate capital base tax rate from the tax rates schedule in
       Form CT-3-I; enter here and on Part 2, line 1b) ..................................................................................     15                                    0


3DUW±&RPSXWDWLRQRILQYHVWPHQWFDSLWDOIRUWKHFXUUHQWWD[\HDU(see instructions)
                                                                                            A                                      B                                C
                                                                                       Average fair                   Liabilities attributable to           Net average value
                                                                                       market value                      column A amount                    (column A - column B)

  16 Total capital that generates income
         claimed to not be taxable by New York
          under the U.S. Constitution
         (from Form CT-3.1, Schedule E, line 1)........                16
  17 Total of stocks DFWXDOO\ held for more than
         one year (from Form CT-3.1, Schedule E,
        line 2) ...................................................... 17
  18 Total of stocks SUHVXPHG held for more
         than one year (from Form CT-3.1,
        Schedule E, line 3) ....................................       18
  Total investment capital for the current year (Add column C lines 16, 17, and 18; enter the result here
        and on Part 4, line 8. If zero or less, enter 0.) .....................................................................................                                   0

$GGEDFNRIFDSLWDOSUHYLRXVO\UHSRUWHGDVLQYHVWPHQWFDSLWDO
                                                                                            A                                       B                                C
                                                                                   Average fair market                  Liabilities attributable           Net average value as
                                                                               value as previously reported            to column A amount as                previously reported
                                                                                                                         previously reported                (column A - column B)
  Total of stocks previously presumed held
       for more than one year, but did QRW meet
       the holding period (from Form CT-3.1,
           Schedule F, line 1; enter here and on
           Part 4, line 10) ..........................................    




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3DUW±&RPSXWDWLRQRIEXVLQHVVDSSRUWLRQPHQWIDFWRU(see instructions)

Mark an X in this box only if you have QRUHFHLSWV required to be included in the denominator of the apportionment factor (see instr.) ..

                                                                                                                   $±New York State          %±Everywhere
6HFWLRQ$
    1 Sales of tangible personal property .....................................................               1
    Sales of electricity ...............................................................................   
    3 Net gains from sales of real property ..................................................                3
6HFWLRQ$
    4 Rentals of real and tangible personal property ....................................                      4
    5 Royalties from patents, copyrights, trademarks, and similar intangible
        personal property .............................................................................        5
    6 Sales of rights for certain closed-circuit and cable TV transmissions
        of an event .......................................................................................    6
6HFWLRQ$
    7 Sale, licensing, or granting access to digital products .........................                        7
6HFWLRQ$ D  ±)L[HGSHUFHQWDJHPHWKRGIRUTXDOL¿HG¿QDQFLDOLQVWUXPHQWV 4),V
    8 To make this irrevocable election, mark an X in the box (see instructions) ..............................................................................   8

6HFWLRQ$ D  ±Mark an X in each box that is applicable (see line 8 instructions)
  6HFWLRQ$ D  $
    Interest from loans secured by real property .......................................                    
   10 Net gains from sales of loans secured by real property ......................                           10
   11 Interest from loans QRWVHFXUHGE\UHDOSURSHUW\ 4),                          ) ..............        11
  Net gains from sales of loans QRW secured by real property  4),                               )        
  6HFWLRQ$ D  %  4),               )
   13 Interest from federal debt ....................................................................         13
   14
   15 Interest from NYS and its political subdivisions debt ..........................                        15
   16 Net gains from federal, NYS, and NYS political subdivisions debt ......                                 16
   17 Interest from other states and their political subdivisions debt ...........                            17
   18 Net gains from other states and their political subdivisions debt ........                              18
  6HFWLRQ$ D  &  4),               )
  Interest from asset-backed securities and other government agency debt                                   
  Net gains from government agency debt or asset-backed securities
          sold through an exchange ...............................................................            
  Net gains from all other asset-backed securities .................................                       
  6HFWLRQ$ D  '  4),               )
  Interest from corporate bonds .............................................................              
  Net gains from corporate bonds sold through broker/dealer or
          licensed exchange ...........................................................................       
  Net gains from other corporate bonds .................................................                   
  6HFWLRQ$ D  (
    Net interest from reverse repurchase and securities borrowing agreements                                
  6HFWLRQ$ D  )
    Net interest from federal funds ............................................................            
  6HFWLRQ$ D  ,  4),             )
    Net income from sales of physical commodities .................................                         
  6HFWLRQ$ D  -  4),              )
    Marked to market net gains .................................................................            
  6HFWLRQ$ D  +  4),               )
            $ D  *  4),            )
  ,QWHUHVWIURPRWKHU¿QDQFLDOLQVWUXPHQWV .............................................                 
   30 1HWJDLQVDQGRWKHULQFRPHIURPRWKHU¿QDQFLDOLQVWUXPHQWV .............                              30

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                                                                                                                                      CT-3 (2021) 3DJHof 8


3DUW±&RPSXWDWLRQRIEXVLQHVVDSSRUWLRQPHQWIDFWRU (continued)
                                                                                                          $±New York State              %±Everywhere
6HFWLRQ$ E
  31 %URNHUDJHFRPPLVVLRQV......................................................................   31
  Margin interest earned on behalf of brokerage accounts ....................                     
  33 Fees for advisory services for underwriting or management of underwriting                       33
  34 Receipts from primary spread of selling concessions .........................                   34
  35 Receipts from account maintenance fees ...........................................              35
  36 Fees for management or advisory services ........................................               36
  37 ,QWHUHVWIURPDQDႈOLDWHGFRUSRUDWLRQ..................................................       37
6HFWLRQ$ F
  38 Interest, fees, and penalties from credit cards ....................................            38
  Service charges and fees from credit cards ........................................             
  40 Receipts from merchant discounts ......................................................         40
  41 Receipts from credit card authorizations and settlement processing ..                           41
  Other credit card processing receipts ..................................................        
6HFWLRQ$ G
  43 Receipts from certain services to investment companies ...................                      43
6HFWLRQ$D
  44 Global intangible low-taxed income .......................................................      44                     0 00
6HFWLRQ$
  45 Receipts from railroad and trucking business .....................................              45
6HFWLRQ$D
  46 Receipts from the operation of vessels ...............................................          46
6HFWLRQ$
  47 Receipts from air freight forwarding ....................................................       47
  48 Receipts from other aviation services .................................................         48
6HFWLRQ$
  Advertising in newspapers or periodicals ............................................           
  50 Advertising on television or radio ........................................................     50
  51 Advertising via other means ................................................................    51
6HFWLRQ$
  Transportation or transmission of gas through pipes ..........................                  
6HFWLRQ$
  53 5HFHLSWVIURPRWKHUVHUYLFHVDFWLYLWLHVQRWVSHFL¿HG...........................               53        1,056,713                      1,056,713
6HFWLRQ$
  54 Discretionary adjustments ...................................................................   54
7RWDOUHFHLSWV
  55 $GGOLQHVWKURXJKLQFROXPQV$DQG%.........................................            55        1,056,713                      1,056,713
&DOFXODWLRQRIEXVLQHVVDSSRUWLRQPHQWIDFWRU
  56 New York State business apportionment factor (divide line 55, column A by line 55, column B and enter the
      resulting decimal here; round to the sixth decimal place after the decimal point; see instructions) .........................      56       1.000000

Enter line 56 on Part 3, Computation of tax on business income base, line 14; and on Part 4, Computation of tax on capital base,
line 12.




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3DUW±6XPPDU\RIWD[FUHGLWVFODLPHG
      1 +DYH\RXEHHQFRQYLFWHGRIDQRႇHQVHRUDUH\RXDQRZQHURIDQHQWLW\FRQYLFWHGRIDQRႇHQVHGH¿QHGLQ1HZ<RUN6WDWH
           Penal Law, Article 200 or 496, or section 195.20? (see Form CT-1; mark an X in one box) ........................ 1 Yes No                                                                     X
Enter in the appropriate box below the amount of each tax credit XVHG to reduce the tax due shown on Part 2, line 2, and attach the
corresponding properly completed claim form. The amount of credit to enter is computed on each credit form and carried to this section.

CT-37 .........                                                          CT-607 .......                                                         CT-651 ......
CT-40 .........                                                          CT-611 ........                                                        CT-652 ......
CT-41 .........                                                          CT-611.1 .....                                                         CT-654 ......
CT-43 .........                                                          CT-611.2 .....                                                         CT-655 ........
CT-44 .........                                                          CT-612 .......                                                         DTF-621 .....
CT-46 .........                                                          CT-613 .......                                                         DTF-622 .....
CT-47 .........                                                          CT-631 .......                                                         DTF-624 .....
CT-236 .......                                                           CT-633 .......                                                         DTF-630 .....
CT-238 .......                                                           CT-634 .......                                                         Other credits
CT-239 .......                                                           CT-635 .......
CT-241 .......                                                           CT-636 .......
CT-242 .......                                                           CT-637 .......
CT-246 .......                                                           CT-638 .......
CT-248 .......                                                           CT-640 .......
CT-249 ........                                                          CT-641 .......
CT-250 .......                                                           CT-642 .......
CT-261 .......                                                           CT-643 .......
CT-501 .......                                                           CT-644 .......
CT-601 .......                                                           CT-645 .......
CT-602 .......                                                           CT-646 .......
CT-603 .......                                                           CT-647 .......
CT-604 .......                                                           CT-648 .......
CT-605 .......                                                           CT-649 .......
CT-606 .......                                                           CT-650 ......


      Total tax credits claimed above (enter here and on Part 2, line 3; attach appropriate form for each credit
          claimed) ........................................................................................................................................        
      3 Total tax credits claimed that are refund eligible (see instructions) ...................................................                                  3

    4a ,I\RXFODLPHGWKH4(=(WD[UHGXFWLRQFUHGLWDQG\RXKDGD]RQHDOORFDWLRQIDFWRUPDUNDQX in the box ................                                                               4a

    E ,I\RXFODLPHGWKHWD[IUHH1<DUHDWD[HOLPLQDWLRQFUHGLWDQG\RXKDGDDUHDDOORFDWLRQIDFWRUPDUNDQX
           in the box ...........................................................................................................................................................................   E
    4c ,I\RXFODLPHGWKHWD[IUHH1<DUHDH[FLVHWD[RQWHOHFRPPXQLFDWLRQVFUHGLWDQG\RXKDGDDUHDDOORFDWLRQ
           factor, mark an X in the box ...............................................................................................................................................             4c


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                                                                                                                                                                CT-3.4
                                      Department of Taxation and Finance

                                      Net Operating Loss Deduction (NOLD)

    /HJDOQDPHRIFRUSRUDWLRQ                                                                                                              (PSOR\HULGHQWL¿FDWLRQQXPEHU (,1
    BAOBURG INC.                                                                                                                                           475233822
    $WWDFKWR)RUP&7RU&7$VHH)RUP&7,EHIRUHFRPSOHWLQJ


   1 0XOWLSO\)RUP&7RU&7$3DUWOLQHE\\RXUDSSURSULDWHEXVLQHVVLQFRPHEDVHWD[UDWH
     IRUWKHFXUUHQW\HDUIURPWKHTax rates scheduleLQ)RUP&7,RU&7$,(see instructions) ....                                           1                         0
   2 (QWHUWKHJUHDWHURIWKHFDSLWDOEDVHWD[RUWKH¿[HGGROODUPLQLPXPWD[IRUWKHFXUUHQWWD[\HDU
        (from Form CT-3 or CT-3-A, Part 2, line 1b or 1c) ................................................................................            2                         0
   3 6XEWUDFWOLQHIURPOLQH ...............................................................................................................    3                         0
   4 12/'WKDWLVUHTXLUHGWREHXWLOL]HGLIDYDLODEOH(divide line 3 by the same business income base tax
        rate used for line 1; do not enter less than zero) ..................................................................................         4                         0
Computation of net operating loss (NOL) to be used (see instructions)
 5a 12/FDUU\IRUZDUGIURPSULRU\HDU¶V)RUP&7..........................                        5a
 5b 12/FDUU\IRUZDUGVIURPnewPHPEHUVZKRHQWHUHGWKHJURXS
   GXULQJWKHFXUUHQWWD[\HDU.........................................................           5b
 5c 12/FDUU\EDFN ..............................................................................    5c
 5d 6XEWRWDO(add lines 5a, 5b, and 5c) .......................................................................................................      5d
 5e 12/FDUU\IRUZDUGVWKDWKDYHH[SLUHG ...........................................                 5e
  5f 12/FDUU\IRUZDUGVXQDYDLODEOHIRUXVHLQWKHFXUUHQWWD[\HDU .....                             5f
 5g Add lines 5e and 5f ..........................................................................................................................    5g
   5 7RWDO12/VDYDLODEOHWREHXVHGLQWKHFXUUHQWWD[\HDU(subtract line 5g from line 5d) .......................                                  5                        0
   6 12/WREHXVHGLQWKHFXUUHQWWD[\HDU .........................................                6                                       0
Computation of NOL carryforward (see instructions)
 7a 12/LQFXUUHGLQWKHFXUUHQWWD[\HDU ...............................................................................................            7a             189,818
 7b 1HW12/VDYDLODEOH(add lines 5, 5f, and 7a) .......................................................................................             7b             189,818
 7c 12/FDUU\IRUZDUGVIURPPHPEHUVwho leftWKHJURXSGXULQJWKH
   FXUUHQWWD[\HDU..........................................................................     7c
 7d $GGOLQHVDQGF...........................................................................................................................   7d                   0
   7 12/DYDLODEOHWREHFDUULHGIRUZDUG(subtract line 7d from 7b) ............................................................                      7             189,818




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Page 2 of 3 CT-3.4 


Schedule A – Apportioned business income or loss (must be completed for each tax period; see
instructions).
,I\RXDUHPDNLQJWKHHOHFWLRQWRZDLYHFDUU\EDFNRIWKHFXUUHQW\HDU12/PDUNDQXLQWKHER[ ..................................................
                          A                                              B                                                  C
              7D[SHULRGEHJLQQLQJDQG                      $PRXQWIURP)RUP&7RU             :KHQFROXPQ%LVQRWDORVVHQWHUWKHHQGLQJGDWHV
                    ending dates                           &7$3DUWOLQHIRUWKH        RIWKHWD[SHULRG V WKDWJHQHUDWHGDQ12/XVHGWR
                                                                SHULRGLQFROXPQ$               UHGXFHWKHDPRXQWLQFROXPQ%(see instr.; if necessary)
        10-01-21                09-30-22                                    -189,818




                          Note: You must complete and attach Form CT-3.4 to Form CT-3 or CT-3-A each tax year.




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Schedule B – New members included in the combined group for the current tax period;
)RUP&7$¿OHUVRQO\(see instructions)
              A                      B                      C                   D                    E               F
             1DPH                   (,1             12/DYDLODEOHDW        %HJLQQLQJ          Ending date        6XEMHFW
                                                    WKHEHJLQQLQJRI        date of this          of this         WR,5&
                                                     this tax period        tax period          tax period      
                                                                             (mm-dd-yy)         (mm-dd-yy)       RU65/<




Schedule C – Former members not included in the combined group at the end of the current
WD[SHULRG)RUP&7$¿OHUVRQO\(see instructions)
                    A                       B                       C                  )RUPHUPHPEHU¶VWD[SHULRG
                   1DPH                    (,1          12/DYDLODEOHXSRQOHDYLQJ        LQFRPELQHGJURXS
                                                          WKHFRPELQHGJURXS
                                                                                            D                 E
                                                                                      %HJLQQLQJGDWH     Ending date
                                                                                          (mm-dd-yy)         (mm-dd-yy)




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                              CT-3-M General Business Corporation
                                                               'HSDUWPHQW RI 7D[DWLRQ DQG )LQDQFH




                                                               MTA Surcharge Return
                                                               7D[/DZ±$UWLFOH$6HFWLRQ%
&DXWLRQ 7KLV IRUP PXVW EH XVHG only IRU WD[ SHULRGV EHJLQQLQJ RQ RU DIWHU -DQXDU\   ,I \RX XVH LW IRU DQ\ SULRU SHULRGV WKH
UHWXUQZLOOnotEHSURFHVVHGDQGZLOOnotEHFRQVLGHUHGWLPHO\¿OHG$VDUHVXOWSHQDOWLHVDQGLQWHUHVWPD\EHLQFXUUHG
                   Amended return                                        $OO¿OHUVPXVWHQWHUWD[SHULRG EHJLQQLQJ                         10-01-21                HQGLQJ           09-30-22
     (PSOR\HU LGHQWL¿FDWLRQ QXPEHU (,1                               )LOH QXPEHU      %XVLQHVV WHOHSKRQH QXPEHU                                                              ,I \RX FODLP DQ
                                                                                                                                                                                RYHUSD\PHQWPDUN
              475233822                                               AA4                    917     496-0125                                                                  an X LQWKHER[
     /HJDO QDPH RI FRUSRUDWLRQ                                                                                        7UDGH QDPH'%$

    BAOBURG INC.
     0DLOLQJ DGGUHVV                                                                                                   6WDWH RU FRXQWU\ RI LQFRUSRUDWLRQ

     &DUH RI FR                                                                                                      NY
     1XPEHUDQGVWUHHWRU32ER[                                                                                       'DWH RI LQFRUSRUDWLRQ              )RUHLJQFRUSRUDWLRQV GDWH EHJDQ EXVLQHVV LQ 1<6

    614 MANHATTAN AVE                                                                                                  10-05-15
     &LW\                            86 VWDWH&DQDGLDQ SURYLQFH      =,33RVWDO FRGH       &RXQWU\ (if not United States)                             )RUR௻FHXVHRQO\

    BROOKLYN                          NY                                 11222
     ,I\RXQHHGWRXSGDWH\RXUDGGUHVVRUSKRQHLQIRUPDWLRQIRUFRUSRUDWLRQWD[RURWKHUWD[W\SHV\RX
     FDQGRVRRQOLQH6HHBusiness informationLQ)RUP&7
)LOHWKLVIRUPZLWK\RXU)RUP&7RU&7$%HIRUHFRPSOHWLQJWKLVUHWXUQVHH)RUP&70,
Instructions for Form CT-3-M.
  A. 3D\ DPRXQW VKRZQ RQ OLQH  0DNH SD\DEOH WR New York State Corporation Tax                                                                                        3D\PHQWHQFORVHG
     $WWDFK \RXU SD\PHQW KHUH 'HWDFK DOO FKHFN VWXEV (See instructions for details.)                                                                     A                                450
Computation of MTA surcharge
 1a New York State franchise tax (see instructions) .................................................................................                      1a                             1,500
 1b 6XPRI¿[HGGROODUPLQLPXPWD[HVIRUPHPEHUVVXEMHFWWRWKH07$VXUFKDUJH(see instructions) ....                                                     1b
  1 7RWDO1HZ<RUN6WDWHIUDQFKLVHWD[(add lines 1a and 1b) ...................................................................                           1                          1,500
  2 0&7'DSSRUWLRQPHQWSHUFHQWDJHIURPOLQH ................................................................................                             2                       100.0000 %
  3 $SSRUWLRQHGIUDQFKLVHWD[(multiply line 1 by line 2) .............................................................................                     3                          1,500
  4 07$VXUFKDUJH(multiply line 3 by 30% (.30)) .......................................................................................                    4                            450
5a, 5b, 6
  7 7RWDOSUHSD\PHQWVIURPOLQH ........................................................................................................                  7
 8a 8QGHUSD\PHQW(subtract line 7 from line 4) ..........................................................................................                   8a                                 450
 8b $GGLWLRQDODPRXQWIRU0),(see instructions) .............................................................................                        8b                                   0
 8c 7RWDORIOLQHVDDQGE ...................................................................................................................          8c                                 450
  9 (VWLPDWHGWD[SHQDOW\(see instructions; mark an X in the box if Form CT-222 is attached)                                     ................           9
 10 ,QWHUHVWRQODWHSD\PHQW(see instructions for Form CT-3 or CT-3-A) .....................................................                               10
 11 /DWH¿OLQJDQGODWHSD\PHQWSHQDOWLHV(see instructions for Form CT-3 or CT-3-A) .................................                                      11
 12 %DODQFHGXH(add lines 8c through 11 and enter here; enter the payment amount on line A above) .........                                                12                                 450
13a ([FHVVSUHSD\PHQWV(subtract line 4 from line 7) ................................................................................                      13a
13b $PRXQW SUHYLRXVO\ FUHGLWHG WR  0), (see instructions) ...............................................................                             13b
13c 2YHUSD\PHQW (subtract line 13b from line 13a) .....................................................................................                   13c
 14 $PRXQW RI RYHUSD\PHQW WR EH FUHGLWHG WR 1HZ <RUN 6WDWH IUDQFKLVH WD[ (see instructions) ................                                                14
 15 $PRXQWRIRYHUSD\PHQWWREHFUHGLWHGWR07$VXUFKDUJHIRUQH[WSHULRG(see instructions)..............                                                  15
 16 $PRXQWRIRYHUSD\PHQWWREHUHIXQGHG(see instructions) .................................................................                               16

Schedule A – Computation of MCTD apportionment percentage (see instructions)                                                                                                        REV 05/26/22 PRO


                                                                                                            A                                        B
Average value of property (see instructions)
                                                                                                           0&7'                                 New York State
 17 5HDOHVWDWHRZQHG(see instructions) .............................. 17
 18 5HDOHVWDWHUHQWHG(see instructions) .............................. 18
 19 ,QYHQWRULHVRZQHG ........................................................ 19
 20 7DQJLEOHSHUVRQDOSURSHUW\RZQHG(see instructions) ...... 20
 21 7DQJLEOHSHUVRQDOSURSHUW\UHQWHG(see instructions) ...... 21
 22 7RWDO(add lines 17 through 21 in columns A and B) ........... 22
 23 0&7'SURSHUW\IDFWRU(divide line 22, column A, by line 22, column B) ................................................................                                23             0.0000 %
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Page 2 of 4 CT-3-M                                                                                                                            REV 05/26/22 PRO




                                                                                                                            A                   B
5HFHLSWVIURP (see instructions for lines 24 through 77)                                                                  0&7'            New York State
Section 210-A.2
 24 6DOHVRIWDQJLEOHSHUVRQDOSURSHUW\.......................................................                  24
 25 6DOHVRIHOHFWULFLW\ .................................................................................      25
 26 1HWJDLQVIURPVDOHVRIUHDOSURSHUW\ ....................................................                  26
Section 210-A.3
 27 5HQWDOVRIUHDODQGWDQJLEOHSHUVRQDOSURSHUW\......................................                        27
 28 5R\DOWLHVIURPSDWHQWVFRS\ULJKWVWUDGHPDUNVDQGVLPLODULQWDQJLEOH
      SHUVRQDOSURSHUW\...............................................................................          28
 29 6DOHVRIULJKWVIRUFHUWDLQFORVHGFLUFXLWDQGFDEOH79WUDQVPLVVLRQV
      RIDQHYHQW.........................................................................................      29
Section 210-A.4
 30 6DOHOLFHQVLQJRUJUDQWLQJDFFHVVWRGLJLWDOSURGXFWV...........................                          30
Section 210-A.5(a)(1) –)L[HGSHUFHQWDJHPHWKRGIRUTXDOL¿HG¿QDQFLDOLQVWUXPHQWV 4),V
  31 ,IWKLVLUUHYRFDEOHHOHFWLRQZDVPDGHRQ)RUP&7RU&7$PDUNDQXLQWKHER[(see Form CT-3-I or CT-3-A-I, Part 6, line 8 instructions)         31

Section 210-A.5(a)(2) – 0DUNDQXLQHDFKER[WKDWLVDSSOLFDEOH (see Form CT-3-I or CT-3-A-I, Part 6, line 8 instructions)
 Section 210-A.5(a)(2)(A)
 32 ,QWHUHVWIURPORDQVVHFXUHGE\UHDOSURSHUW\.........................................                       32
 33 1HWJDLQVIURPVDOHVRIORDQVVHFXUHGE\UHDOSURSHUW\ ........................                             33
 34 ,QWHUHVWIURPORDQVnotVHFXUHGE\UHDOSURSHUW\
          4),      ..........................................................................................   34
 35 1HWJDLQVIURPVDOHVRIORDQVnotVHFXUHGE\UHDOSURSHUW\
          4),      ..........................................................................................   35
 Section 210-A.5(a)(2)(B) 4),
 36 ,QWHUHVWIURPIHGHUDOGHEW .......................................................................          36
 37
 38 ,QWHUHVWIURP1<6DQGLWVSROLWLFDOVXEGLYLVLRQVGHEW.............................                         38
 39 1HWJDLQVIURPIHGHUDO1<6DQG1<6SROLWLFDOVXEGLYLVLRQVGHEW........                                   39
 40 ,QWHUHVWIURPRWKHUVWDWHVDQGWKHLUSROLWLFDOVXEGLYLVLRQVGHEW..............                             40
 41 1HWJDLQVIURPRWKHUVWDWHVDQGWKHLUSROLWLFDOVXEGLYLVLRQVGHEW...........                               41
 Section 210-A.5(a)(2)(C) 4),
 42 ,QWHUHVWIURPDVVHWEDFNHGVHFXULWLHVDQGRWKHUJRYHUQPHQWDJHQF\GHEW                                       42
 43 1HWJDLQVIURPJRYHUQPHQWDJHQF\GHEWRUDVVHWEDFNHGVHFXULWLHV
        VROGWKURXJKDQH[FKDQJH .................................................................              43
 44 1HWJDLQVIURPDOORWKHUDVVHWEDFNHGVHFXULWLHV...................................                        44
 Section 210-A.5(a)(2)(D) 4),
 45 ,QWHUHVWIURPFRUSRUDWHERQGV ...............................................................              45
 46 1HWJDLQVIURPFRUSRUDWHERQGVVROGWKURXJKEURNHUGHDOHURU
        OLFHQVHGH[FKDQJH.............................................................................          46
 47 1HWJDLQVIURPRWKHUFRUSRUDWHERQGV...................................................                    47
 Section 210-A.5(a)(2)(E)
 48 1HWLQWHUHVWIURPUHYHUVHUHSXUFKDVHDQGVHFXULWLHVERUURZLQJDJUHHPHQWV                                     48
 Section 210-A.5(a)(2)(F)
 49 1HWLQWHUHVWIURPIHGHUDOIXQGV..............................................................              49
 Section 210-A.5(a)(2)(I) 4),
 50 1HWLQFRPHIURPVDOHVRISK\VLFDOFRPPRGLWLHV ...................................                          50
 Section 210-A.5(a)(2)(J) 4),
 51 0DUNHGWRPDUNHWQHWJDLQV...................................................................              51
 Section 210-A.5(a)(2)(H) 4),
           210-A.5(a)(2)(G) 4),
 52 ,QWHUHVWIURPRWKHU¿QDQFLDOLQVWUXPHQWV ...............................................                   52
 53 1HWJDLQVDQGRWKHULQFRPHIURPRWKHU¿QDQFLDOLQVWUXPHQWV ...............                                 53
          439002211030
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REV 05/26/22 PRO                                                                                                                                         CT-3-M         Page 3 of 4


                                                                                                                                    A                                    B
5HFHLSWVIURP (continued)                                                                                                         0&7'                             New York State
Section 210-A.5(b)
  54 %URNHUDJHFRPPLVVLRQV........................................................................            54
  55 0DUJLQLQWHUHVWHDUQHGRQEHKDOIRIEURNHUDJHDFFRXQWV......................                             55
  56 )HHVIRUDGYLVRU\VHUYLFHVIRUXQGHUZULWLQJRUPDQDJHPHQWRIXQGHUZULWLQJ                                  56
  57 5HFHLSWVIURPSULPDU\VSUHDGRIVHOOLQJFRQFHVVLRQV ...........................                          57
  58 5HFHLSWVIURPDFFRXQWPDLQWHQDQFHIHHV .............................................                     58
  59 )HHVIRUPDQDJHPHQWRUDGYLVRU\VHUYLFHV ..........................................                       59
  60 ,QWHUHVWIURPDQDႈOLDWHGFRUSRUDWLRQ....................................................                60
Section 210-A.5(c)
  61 ,QWHUHVWIHHVDQGSHQDOWLHVIURPFUHGLWFDUGV ......................................                   61
  62 6HUYLFH FKDUJHVDQGIHHVIURPFUHGLWFDUGV..........................................                     62
  63 5HFHLSWVIURPPHUFKDQWGLVFRXQWV........................................................                 63
  64 5HFHLSWVIURPFUHGLWFDUGDXWKRUL]DWLRQVDQGVHWWOHPHQWSURFHVVLQJ....                                   64
  65 2WKHUFUHGLWFDUGSURFHVVLQJUHFHLSWV....................................................                65
Section 210-A.5(d)
  66 5HFHLSWVIURPFHUWDLQVHUYLFHVWRLQYHVWPHQWFRPSDQLHV .....................                             66
Section 210-A.5-a
  67 *OREDOLQWDQJLEOHORZWD[HGLQFRPH .......................................................                 67
Section 210-A.6 ...........................................................................................
  68 5HFHLSWVIURPUDLOURDGDQGWUXFNLQJEXVLQHVV .......................................                     68
Section 210-A.6-a
  69 5HFHLSWVIURPWKHRSHUDWLRQRIYHVVHOV .................................................                 69
Section 210-A.7
  70 5HFHLSWVIURPDLUIUHLJKWIRUZDUGLQJ ......................................................              70
  71 5HFHLSWVIURPRWKHUDYLDWLRQVHUYLFHV ...................................................                71
Section 210-A.8
  72 $GYHUWLVLQJLQQHZVSDSHUVRUSHULRGLFDOV..............................................                   72
  73 $GYHUWLVLQJRQWHOHYLVLRQRUUDGLR ..........................................................            73
  74 $GYHUWLVLQJYLDRWKHUPHDQV..................................................................            74
Section 210-A.9
  75 7UDQVSRUWDWLRQRUWUDQVPLVVLRQRIJDVWKURXJKSLSHV ............................                         75
Section 210-A.10
  76 5HFHLSWVIURPRWKHUVHUYLFHVDFWLYLWLHVQRWVSHFL¿HG.............................                        76                 1,056,713                             1,056,713
Section 210-A.11
 77 'LVFUHWLRQDU\DGMXVWPHQWV..................................................................... 77
 78 7RWDO(add lines 24 through 77 in columns A and B) ....................................                  78                   1,056,713                              1,056,713
 79 0&7'UHFHLSWVIDFWRU(divide line 78, column A, by line 78, column B) .................................................................                         79    100.0000 %
                                                                                                                                      A                                  B
Payroll                                                                                                                           0&7'                              New York State
 80 :DJHVDQGRWKHUFRPSHQVDWLRQRIHPSOR\HHVH[FHSWJHQHUDO
       H[HFXWLYHRႈFHUV..............................................................................        80
 81 0&7'SD\UROOIDFWRU(divide line 80, column A, by line 80, column B) ...................................................................                        81      0.0000 %
 82 7RWDO0&7'IDFWRUV(add lines 23, 79, and 81) ...................................................................................................               82    100.0000 %
 83 0&7'DSSRUWLRQPHQWSHUFHQWDJH(Divide line 82 by three; if a factor is missing, see instructions.
       Enter here and on line 2.) ...............................................................................................................................   83    100.0000 %




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Page 4 of 4 CT-3-M                                                                                                                                                  REV 05/26/22 PRO




Composition of prepayments claimed on line 7 (see instructions)                                                                   Date paid                          Amount
 84 0DQGDWRU\¿UVWLQVWDOOPHQWIURP)RUP&7(see instructions) .......................... 84
 85 6HFRQGLQVWDOOPHQWIURP)RUP&7 .............................................................. 85
 86 7KLUGLQVWDOOPHQWIURP)RUP&7 ................................................................... 86
 87 )RXUWKLQVWDOOPHQWIURP)RUP&7 ................................................................. 87
 88 3D\PHQWZLWKH[WHQVLRQUHTXHVWIURP)RUP&7OLQHRU)RUP&7OLQH ... 88
 89 2YHUSD\PHQWFUHGLWHGIURPSULRU\HDUV(see instructions) .................................................................... 89
 90 $GGOLQHVWKURXJK ................................................................................................................... 90
                                                                         3HULRG
 91 2YHUSD\PHQWFUHGLWHGIURP)RUP&7                                                                                  ...................... 91
 92 7RWDOSUHSD\PHQWV(add lines 90 and 91; enter here and on line 7) ........................................................... 92

                                   'HVLJQHH¶VQDPH(print)                                                                                         'HVLJQHH¶VSKRQHQXPEHU
Third – party Yes        No                                                                                                                          
 designee  'HVLJQHH¶VHPDLODGGUHVV
 (see instructions)                                                                                                                                             3,1
&HUWL¿FDWLRQ,FHUWLI\WKDWWKLVUHWXUQDQGDQ\DWWDFKPHQWVDUHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHIWUXHFRUUHFWDQGFRPSOHWH
                 3ULQWHGQDPHRIDXWKRUL]HGSHUVRQ                         6LJQDWXUHRIDXWKRUL]HGSHUVRQ                          2ႈFLDOWLWOH
Authorized                                                                                                                           PRESIDENT
 person  (PDLODGGUHVVRIDXWKRUL]HGSHUVRQ                                                                          7HOHSKRQHQXPEHU                        'DWH
                 PABLO@SANCHEZLLC.COM                                                                                   917      496-0125                             02-17-23
   Paid          )LUP¶VQDPH(or yours if self-employed)                                                     )LUP¶V(,1                               3UHSDUHU¶V37,1RU661
                 SANCHEZ PROFESSIONAL SERVICES LLC                                                                   020713819                                 P00442523
 preparer        6LJQDWXUHRILQGLYLGXDOSUHSDULQJWKLVUHWXUQ          $GGUHVV                                                &LW\                     6WDWH       =,3FRGH
   use           PABLO F SANCHEZ                                         40-20 58TH STREET WOODSIDE NY 11377
   only          (PDLODGGUHVVRILQGLYLGXDOSUHSDULQJWKLVreturn                                          3UHSDUHU¶V1<735,1         RU   ([FOFRGH 'DWH
 (see instr.)    PABLO@SANCHEZLLC.COM                                                                                                           03                     02-18-23
6HHLQVWUXFWLRQVIRUZKHUHWR¿OH




          439004211030
                      Case 1-23-42888-ess                      Doc 16           Filed 08/25/23                Entered 08/25/23 21:29:11



                                               -400                ESTIMATED TAX BY BUSINESS CORPORATIONS 2022
                                                                   AND SUBCHAPTER S GENERAL CORPORATIONS
                                                                                                       10-01
                                                       For CALENDAR YEAR 2022 or FISCAL YEAR beginning _______________, 2022 and ending _______________,
                                                                                                                        _______         09-30            2023
                                                                                                                                                         ________
                              Print or Type:

                                                                                                                           
                              Name (If combined filer, give name of reporting corporation) See Instructions      Name          Taxpayer’s Email Address
                                                                                                                 Change
                             BAOBURG INC.                                                                                      PABLO@SANCHEZLLC.COM
                              In Care of
                                                                                                                                     EMPLOYER IDENTIFICATION NUMBER

                              Address (number and street)
                                                                                                                           
                                                                                                                 Address         4    7        5    2     3   3    8    2     2
                                                                                                                 Change
                             614 MANHATTAN AVE
                              City and State                                Zip Code                 Country (if not US)
                                                                                                                                BUSINESS CODE NUMBER AS PER FEDERAL RETURN
                             BROOKLYN NY                                     11222
                              Business telephone number                     Person to contact
                                                                                                                                           7    2    2    5   1     1
                             917-496-0125                                   SUCHANAN AKSORNNAR

                              Business C Corporations only                             General-Subchapter S Corporations and Qualified Subchapter S Subsidiaries only
                                  NYC-2             NYC-2S             NYC-2A               NYC-3L                NYC-3A                  NYC-4S                  NYC-4SEZ

 C O M P U TAT I O N O F E S T I M AT E D TA X
                                                                                                                                                     Payment Amount

 A.      Payment          Amount included with form - Make payable to: NYC Department of Finance ......A.
                                                                                                                                                                   500

1. Declaration of estimated tax for current year ........................................................................ 1.                                   1,500

2. Estimated Payment Amount ................................................................................................. 2.                                   500



MAILING                        MAIL FORM TO:                                      Make remittance payable to the order of:                   To receive proper credit, you must
                               NYC DEPARTMENT OF FINANCE                          NYC DEPARTMENT OF FINANCE                                  enter your correct Employer Identi-
INSTRUCTIONS:
                               P.O. BOX 3922                                      Payment must be made in U.S.dollars,                       fication Number on your declaration
                               NEW YORK, NY 10008-3922                            drawn on a U.S. bank.                                      and remittance.



                   KEEP A COPY OF THIS FORM FOR YOUR RECORDS. SEE INSTRUCTIONS ON PAGE 2.

                                                         ELECTRONIC FILING
  Register for electronic filing. It is an easy, secure and convenient way to file a declaration and an extension and pay taxes on-line.
                                           For more information log on to NYC.gov/eservices




                                                                        REV 05/26/22 PRO                                                                                    16
 30312216                                                                                                                                                               NYC-400 2021
                      Case 1-23-42888-ess                      Doc 16           Filed 08/25/23                Entered 08/25/23 21:29:11



                                               -400                ESTIMATED TAX BY BUSINESS CORPORATIONS 2022
                                                                   AND SUBCHAPTER S GENERAL CORPORATIONS
                                                                                                       10-01
                                                       For CALENDAR YEAR 2022 or FISCAL YEAR beginning _______________, 2022 and ending _______________,
                                                                                                                        _______         09-30            2023
                                                                                                                                                         ________
                              Print or Type:

                                                                                                                           
                              Name (If combined filer, give name of reporting corporation) See Instructions      Name          Taxpayer’s Email Address
                                                                                                                 Change
                             BAOBURG INC.                                                                                      PABLO@SANCHEZLLC.COM
                              In Care of
                                                                                                                                     EMPLOYER IDENTIFICATION NUMBER

                              Address (number and street)
                                                                                                                           
                                                                                                                 Address         4    7        5    2     3   3    8    2     2
                                                                                                                 Change
                             614 MANHATTAN AVE
                              City and State                                Zip Code                 Country (if not US)
                                                                                                                                BUSINESS CODE NUMBER AS PER FEDERAL RETURN
                             BROOKLYN NY                                     11222
                              Business telephone number                     Person to contact
                                                                                                                                           7    2    2    5   1     1
                             917-496-0125                                   SUCHANAN AKSORNNAR

                              Business C Corporations only                             General-Subchapter S Corporations and Qualified Subchapter S Subsidiaries only
                                  NYC-2             NYC-2S             NYC-2A               NYC-3L                NYC-3A                  NYC-4S                  NYC-4SEZ

 C O M P U TAT I O N O F E S T I M AT E D TA X
                                                                                                                                                     Payment Amount

 A.      Payment          Amount included with form - Make payable to: NYC Department of Finance ......A.
                                                                                                                                                                   500

1. Declaration of estimated tax for current year ........................................................................ 1.                                   1,500

2. Estimated Payment Amount ................................................................................................. 2.                                   500



MAILING                        MAIL FORM TO:                                      Make remittance payable to the order of:                   To receive proper credit, you must
                               NYC DEPARTMENT OF FINANCE                          NYC DEPARTMENT OF FINANCE                                  enter your correct Employer Identi-
INSTRUCTIONS:
                               P.O. BOX 3922                                      Payment must be made in U.S.dollars,                       fication Number on your declaration
                               NEW YORK, NY 10008-3922                            drawn on a U.S. bank.                                      and remittance.



                   KEEP A COPY OF THIS FORM FOR YOUR RECORDS. SEE INSTRUCTIONS ON PAGE 2.

                                                         ELECTRONIC FILING
  Register for electronic filing. It is an easy, secure and convenient way to file a declaration and an extension and pay taxes on-line.
                                           For more information log on to NYC.gov/eservices




                                                                        REV 05/26/22 PRO                                                                                    16
 30312216                                                                                                                                                               NYC-400 2021
                      Case 1-23-42888-ess                      Doc 16           Filed 08/25/23                Entered 08/25/23 21:29:11



                                               -400                ESTIMATED TAX BY BUSINESS CORPORATIONS 2022
                                                                   AND SUBCHAPTER S GENERAL CORPORATIONS
                                                                                                       10-01
                                                       For CALENDAR YEAR 2022 or FISCAL YEAR beginning _______________, 2022 and ending _______________,
                                                                                                                        _______         09-30            2023
                                                                                                                                                         ________
                              Print or Type:

                                                                                                                           
                              Name (If combined filer, give name of reporting corporation) See Instructions      Name          Taxpayer’s Email Address
                                                                                                                 Change
                             BAOBURG INC.                                                                                      PABLO@SANCHEZLLC.COM
                              In Care of
                                                                                                                                     EMPLOYER IDENTIFICATION NUMBER

                              Address (number and street)
                                                                                                                           
                                                                                                                 Address         4    7        5    2     3   3    8    2     2
                                                                                                                 Change
                             614 MANHATTAN AVE
                              City and State                                Zip Code                 Country (if not US)
                                                                                                                                BUSINESS CODE NUMBER AS PER FEDERAL RETURN
                             BROOKLYN NY                                     11222
                              Business telephone number                     Person to contact
                                                                                                                                           7    2    2    5   1     1
                             917-496-0125                                   SUCHANAN AKSORNNAR

                              Business C Corporations only                             General-Subchapter S Corporations and Qualified Subchapter S Subsidiaries only
                                  NYC-2             NYC-2S             NYC-2A               NYC-3L                NYC-3A                  NYC-4S                  NYC-4SEZ

 C O M P U TAT I O N O F E S T I M AT E D TA X
                                                                                                                                                     Payment Amount

 A.      Payment          Amount included with form - Make payable to: NYC Department of Finance ......A.
                                                                                                                                                                   500

1. Declaration of estimated tax for current year ........................................................................ 1.                                   1,500

2. Estimated Payment Amount ................................................................................................. 2.                                   500



MAILING                        MAIL FORM TO:                                      Make remittance payable to the order of:                   To receive proper credit, you must
                               NYC DEPARTMENT OF FINANCE                          NYC DEPARTMENT OF FINANCE                                  enter your correct Employer Identi-
INSTRUCTIONS:
                               P.O. BOX 3922                                      Payment must be made in U.S.dollars,                       fication Number on your declaration
                               NEW YORK, NY 10008-3922                            drawn on a U.S. bank.                                      and remittance.



                   KEEP A COPY OF THIS FORM FOR YOUR RECORDS. SEE INSTRUCTIONS ON PAGE 2.

                                                         ELECTRONIC FILING
  Register for electronic filing. It is an easy, secure and convenient way to file a declaration and an extension and pay taxes on-line.
                                           For more information log on to NYC.gov/eservices




                                                                        REV 05/26/22 PRO                                                                                    16
 30312216                                                                                                                                                               NYC-400 2021
                                  Case 1-23-42888-ess                                               Doc 16                     Filed 08/25/23                               Entered 08/25/23 21:29:11



                                                       -2                              BUSINESS CORPORATION TAX RETURN
                                                                                       To be filed by C Corporations ONLY – All Subchapter S Corporations must file Form NYC-1, NYC-3L, NYC-4S or NYC-4SEZ
                                                                                                                                                                                                                                                 2021


                                                                                                                                          10-01
                                                                                       For CALENDAR YEAR 2021 or FISCAL YEAR beginning ___________________                  09-30-22
                                                                                                                                                           2021 and ending ______________________
                           Name
                            BAOBURG INC.
                                                                                                                                                                       Name
                                                                                                                                                                       Change                   Employer Identification Number:
                           In care of
                                                                                                                                                                                                   4       7                 5    2     3    3    8     2     2
                                                                                                                                                                                   
                           Address (number and street)                                                                                                             Address
                            614 MANHATTAN AVE                                                                                                                      Change
                           City and State                                                                           Zip Code                          Country (if not US)                        Business Code Number as per federal return:
                            BROOKLYN                                                                    NY          11222
                           Business telephone number                                                       Taxpayer’s email address:                                                                7       2          2      5    1     1
                            917-496-0125                                                                   PABLO@SANCHEZLLC.COM
                           State or country of organization                                                Date organized
                            NY                                                                             10-05-15                                                                              2-character special condition code,
                           Date business began in NYC                                                                               If final return, date business ended in NYC                  if applicable (See instructions):
                                                                                                                             
                                                                           Final - Check this box if you have
                            10-05-15                                       Return ceased operations in NYC

  CHECK ALL
  THAT APPLY                   Special short period return                             52/53-week taxable year                               Pro-forma federal return attached              Claim any 9/11/01-related federal tax benefits
                                                                                                                                               IRS change
                               Amended return                                                                                                                                  Determination --
                                                                      If the purpose of the amended return is to report                                                         Date of Final
                                                                      a federal or state change, check the appropriate box:
                                                                                                                                               NYS  change
   Have you attached any of the following
   forms to this return? If yes, check all that apply.               Form NYC-2.1                               Form NYC-2.2                          Form NYC-2.3                     Form NYC-2.4                  Form NYC-2.5
   SCHEDULE A - Computation of Balance Due or Overpayment
                                                                                                                                                                                                                                       Payment Amount
      A. Payment                 Amount being paid electronically with this return .............................................................................. A.                                                                            1,500
 1.    Tax on business income base (from Schedule B, line 38) .................................................................................................................                                                                        0
                                                                                                                                                                                                                           1. __________________________________
 2.    Tax on capital base (from Schedule C, Part 3, line 5) Maximum Tax is $10,000,000 .......................................................................                                                                                        0
                                                                                                                                                                                                                           2. __________________________________
 3.    Minimum tax - (see instructions) - NYC Gross Receipts:                                                                       1,056,713. .............................................                                                    1,500
                                                                                                                                                                                                                           3. __________________________________
 4.    Tax (enter the amount from line 1, 2 or 3, whichever is largest) ........................................................................................................                                                                1,500
                                                                                                                                                                                                                           4. __________________________________
 5.    UBT Paid Credit (attach Form NYC-9.7C) .........................................................................................................................................                                    5. __________________________________
 6.    Tax after UBT Paid Credit (subtract line 5 from line 4)........................................................................................................................                                                         1,500
                                                                                                                                                                                                                           6. __________________________________
 7.    REAP Credit (attach Form NYC-9.5) ..................................................................................................................................................                                7. __________________________________
 8.    Real Estate Tax Escalation, Employment Opportunity Relocation and IBZ Credits (attach Form NYC-9.6) ......................................                                                                          8. __________________________________
 9.    LMREAP Credit (see instructions and attach Form NYC-9.8)...............................................................................................................                                             9. ____________________________
10.    Intentionally left blank ..........................................................................................................................................................................             10. __________________________________
11.    Beer Production Credit (attach Form NYC-9.12).................................................................................................................................                                  11. __________________________________
12.    Net Tax after credits (subtract lines 7, 8, 9 and 11 from line 6) ..........................................................................................................                                                             1,500
                                                                                                                                                                                                                           12. __________________________________
13.    Total prepayments (from Composition of Prepayments Schedule, page 2, line G) ............................................................................                                                           13. __________________________________
14.    Balance due (subtract line 13 from line 12).........................................................................................................................................                                                     1,500
                                                                                                                                                                                                                           14. __________________________________
15.    Overpayment (subtract line 12 from line 13) .......................................................................................................................................                                 15.___________________________________
16a. Interest (see instructions) ........................................................................................................... 16a.
16b. Additional charges (see instructions).......................................................................................... 16b.
16c. Penalty for underpayment of estimated tax (attach Form NYC-222) .........................................                                                16c.
17.    Total of lines 16a, 16b and 16c ...........................................................................................................................................................                         17. __________________________________
18.    Net overpayment (line 15 less line 17)................................................................................................................................................                              18. __________________________________
19.    Amount of line 18 to be:                   a. Refunded -  Direct deposit - fill out line 19c                             OR        Paper check................................................ 19a. __________________________________
                                                  b. Credited to 2022 estimated tax ............................................................................................................ 19b.___________________________________
19c.    Routing                                                                      Account                                                                                                        Checking 
                                                                                                                                                                            Account Type:
        Number:                                                                      Number:                                                                                                        Savings      
20.    TOTAL REMITTANCE DUE. (see instructions) .................................................................................................................................                                                               1,500
                                                                                                                                                                                                                           20. __________________________________
21.    NYC rent deducted on federal tax return or NYC rent from Schedule E, part 1 ..................................................................................                                                                          60,400
                                                                                                                                                                                                                           21. __________________________________
22.    Federal Return Filed:  1120                             1120C                1120F                 1120-RIC                   1120-REIT                  1120-H               Other / None
23.    Gross receipts or sales from federal return .........................................................................................................................................                                            1,056,713
                                                                                                                                                                                                                           23. _______________________________
24.    Total assets from federal return ............................................................................................................................................................................                         189,247
                                                                                                                                                                                                                           24. __________________________________


30712116                      ATTACH COPY OF YOUR FEDERAL RETURN. SEE PAGE 2 FOR PAYMENT AND MAILING INSTRUCTIONS                                                                                                                                       NYC-2 - 2021



                                                                                                                              REV 05/26/22 PRO
                                                                                                                                                                                                                                                            16
                                        Case 1-23-42888-ess                Doc 16        Filed 08/25/23              Entered 08/25/23 21:29:11

Form NYC-2 - 2021                               NAME: ______________________________________
                                                       BAOBURG INC.                                               EIN: __________________________________
                                                                                                                        XX-XXXXXXX                        Page 2


    COMPOSITION OF PREPAYMENTS SCHEDULE
                       PREPAYMENTS CLAIMED ON SCHEDULE A, LINE 13                                                            DATE                         AMOUNT

 A. Mandatory First Installment paid for tax year 2021
                       (Do not include your mandatory first installment paid for tax year 2022) ..............

 B. Payment with Declaration, Form NYC-400 .............................................................

 C. Payment with Notice of Estimated Tax Due ............................................................

 D. Payment with Notice of Estimated Tax Due ............................................................

 E. Payment with extension, Form NYC-EXT ...............................................................
 F. Overpayment from preceding year credited to this year.........................................

 G. TOTAL of A through F (enter on Schedule A, line 13) ................................................



                                                            CERTIFICATION OF AN ELECTED OFFICER OF THE CORPORATION
I hereby certify that this return, including any accompanying rider, is, to the best of my knowledge and belief, true, correct and complete.
I authorize the Dept. of Finance to discuss this return with the preparer listed below. (See instructions) ......YES 
             HERE
SIGN




                       Signature                                                                                                    Firm’s email
                       of officer                                        Title PRESIDENT                   Date                     address PABLO@SANCHEZLLC.COM
 PREPARER'S USE ONLY




                                                                                                                                           Preparer's Social Security Number or PTIN
                       Preparer's
                       signature
                                                                    Preparer’s
                                                                    printed name   PABLO F SANCHEZ
                                                                                                           Check if self-
                                                                                                           employed         Date02-18-23 P 0 0          4 4        2 5 2 3
                        SANCHEZ PROFESSIONAL SERVICES LLC                                                                                   Firm's Employer Identification Number

                        40-20 58TH STREET WOODSIDE NY 11377                                                                                  0 2 0 7 1 3 8 1 9
                        Firm's name (or yours, if self-employed)       Address                                               Zip Code




                                                                                   MAILING INSTRUCTIONS

Attach copy of all pages of your federal tax return or pro forma federal tax return. The due date for the calendar year
2021 return is on or before April 18, 2022. For fiscal years beginning in 2021, file on or before the 15th day of the 4th
month following the close of the fiscal year.


                         ALL RETURNS EXCEPT                                        REMITTANCES                                               RETURNS CLAIMING
                           REFUND RETURNS                                 PAY ONLINE WITH FORM NYC-200V                                          REFUNDS
                                                                               AT NYC.GOV/ESERVICES
  NYC DEPARTMENT OF FINANCE                                                               OR                                           NYC DEPARTMENT OF FINANCE
  BUSINESS CORPORATION TAX                                            Mail Payment and Form NYC-200V ONLY to:                          BUSINESS CORPORATION TAX
  P.O. BOX 5564                                                             NYC DEPARTMENT OF FINANCE                                  P.O. BOX 5563
  BINGHAMTON, NY 13902-5564                                                         P.O. BOX 3933                                      BINGHAMTON, NY 13902-5563
                                                                              NEW YORK, NY 10008-3933




                                                                    30722116                                REV 05/26/22 PRO                                                  16
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 SCHEDULE B - Computation of Tax on Business Income Base
1.                                                                                                                        -189,818
      Federal taxable income (FTI) before net operating loss (NOL) and special deductions (see instructions). 1. _________________________
2.    Dividends and interest effectively connected with the conduct of a trade or business in the United
      States NOT included on line 1 by alien corporations ................................................................................ 2. _________________________
3.    Any other income not included on line 1 which is exempt by treaty from federal income tax but would otherwise be
      treated as effectively connected with the conduct of a trade or business in the United States by alien corporations .3. ____________________________
4.    Dividends not included on line 1 by non-alien corporations ......................................................................4. _________________________
5.    Interest on federal, state, municipal and other obligations not included on line 1 by non-alien corporations ....5. _____________________________
6.    Income taxes paid to the US or its possessions deducted on federal return ........................................................6. ____________________________
7.    NYS Franchise Tax, including MTA taxes and other business taxes deducted on the federal return (see inst; attach rider)....7. ____________________________________
8.    NYC Corporate Taxes deducted on federal return (see instructions) ...........................................................8. _________________________
9.    Adjustments relating to employment opportunity relocation cost credit and IBZ credit ................................9. ____________________________
10.   Adjustments relating to real estate tax escalation credit .............................................................................10. _________________________
11.   ACRS depreciation and/or adjustments (attach Form NYC-399 and/or NYC-399Z)...................................11. _________________________
12.   Payment for use of intangibles ....................................................................................................................12. _________________________
13.   Intentionally omitted .....................................................................................................................................13. _________________________
14.   Other additions (see instructions; attach rider)............................................................................................14. _________________________
15.                                                                                                                                                                       -189,818
      Total of lines 1 through 14 ...........................................................................................................................15. _________________________
16.   Gain on sale of certain property acquired prior to 1/1/66 (see instructions) ...............................................16. _________________________
17.   NYC and NYS tax refunds included in line 15 (see instructions) ................................................................17. _________________________
18.   Wages and salaries subject to IRC §280C deduction disallowance (see instructions)...............................18. _________________________
19.   Depreciation and/or adjustment calculated under pre-ACRS or pre - 9/11/01 rules (attach Form NYC-399
      and/or NYC-399Z; see instructions) ............................................................................................................19. _________________________
20.   Other subtractions (see instructions) (attach rider) .....................................................................................20. _________________________
21.   Total subtractions (add lines 16 through 20)................................................................................................21. _________________________
22.                                                                                                                                           -189,818
      Net modifications to federal taxable income (subtract line 21 from line 15)................................................22. _________________________
23.   Subtraction modification for qualified banks and other qualified lenders (from Form NYC-2.2, Schedule A, line 1; see instructions) .. 23. _________________________
24.                                                                                                                                                       -189,818
      Entire net income (ENI) (subtract line 23 from line 22) .............................................................................. 24. _________________________
25.   Investment and other exempt income (from Form NYC-2.1, Schedule D, line 1)...................................... 25. _________________________
26.                                                                                                                                              -189,818
      Entire net income less investment and other exempt income.................................................................... 26. _________________________
27.   Excess interest deductions attributable to investment income, investment capital and other
      exempt income (from Form NYC-2.1, Schedule D, line 2)......................................................................... 27. _________________________
28.                                                                                                                                                            -189,818
      Business income (add lines 26 and 27) ..................................................................................................... 28. _________________________
29.   Addback of income previously reported as investment income (from Form NYC-2.1, Schedule F,
      Part 2, line 6; if zero or less, enter 0; see instructions)............................................................................. 29. _________________________
30.                                                                                                                                                  -189,818
      Business income after addback (add lines 28 and 29) ............................................................................. 30. _________________________
31.   Intentionally Omitted ..................................................................................................................................... 31. _________________________
32a. Allocated business income after addback (Multiply Line 30 by the business allocation percentage from
                                                                                                                                                                           -189,818
     Schedule F, Part 3).................................................................................................................................... 32a. _________________________
32b. If the amount on line 32a is not correct, enter correct amount here and explain in rider (see instructions)....... 32b. _____________________________
33.   Prior net operating loss conversion subtraction (from Form NYC-2.3, Schedule C, line 4)....................... 33. _________________________
34.   Allocated business income less prior net operating loss conversion subtraction (see instructions) .......... 34. _________________________
                                                                                                                                                                    -189,818
35.   Net operating loss deduction (from Form NYC-2.4, Schedule A, line 6).................................................... 35. _________________________
36.                                                                                                                                                     -189,818
      Business income base (subtract line 35 from line 34)................................................................................ 36. _________________________
37.                                                                                                                                                                             6.500 %
      Tax rate (see instructions)........................................................................................................................... 37. _________________________
38.                                                                                                                                  0
      Tax on business income base (multiply line 36 by line 37 and enter here and on Schedule A, line 1) ..... 38. _________________________
           Note: If you make an entry on line 23, 25, 27, 29, 33 or 35, you must complete and file the appropriate attachment form.




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  SCHEDULE C - Computation of Tax on Capital Base
  Part 1 - Computation of Total Business Capital
 Basis used to determine average value in column C. Check one. (Attach detailed schedule.)
  - Annually                 - Semi-annually                      - Quarterly                                    COLUMN A                         COLUMN B                   COLUMN C
  - Monthly                  - Weekly                             - Daily                                     Beginning of Year                    End of Year               Average Value

 1. Total assets from federal return ...............................................1.                                 365,174                          189,247                   277,211
 2. Real property and marketable securities included in line 1 ............2.
 3. Subtract line 2 from line 1 .................................................................3.                                                                               277,211
 4. Real property and marketable securities at fair market value ......4.
 5. Adjusted total assets (add lines 3 and 4) .........................................5.                                                                                         277,211
 6. Total liabilities (see instructions) ........................................................6.                    141,406                          458,764                   300,085
 7. Total capital (subtract line 6, column C, from line 5, column C) ............................................................................................. 7.                   0
 8. Investment capital (from Schedule D, line 4; if zero or less, enter 0) ............................................................................ 8.
 9. Business capital (subtract line 8 from line 7) ....................................................................................................................... 9.               0
 10. Addback of capital previously reported as investment capital (from Schedule D, line 5, column C; if zero or less, enter 0) 10.
 11. Total business capital (add lines 9 and 10) (see instructions) ....................................................................................... 11.                             0

  Part 2 - Computation of Liabilities Attributable to Investment Capital and Within Business Capital                                                 COLUMN A                   COLUMN B
1. Total liabilities (Schedule C, Part 1, line 6) (see instructions) ..........................................1.                                                              300,085
                                                                                                                                               _______________________________________________
2. Liabilities directly attributable to investment capital (see instructions) ....................................2.                           _______________________________________________
3. Liabilities directly attributable to business capital .........................................................................3.           _______________________________________________
4. Total liabilities directly attributable (add lines 2 and 3) ..............................................................4.                _______________________________________________
5. Total liabilities indirectly attributable (subtract line 4 from line 1) ................................................5.                                                  300,085
                                                                                                                                               _______________________________________________
6. Average FMV of investment capital before subtraction of liabilities attributable
   (Form NYC-2.1, Schedule E, Part 4, Column F, line 4) (see instructions) .................................6.                                 _______________________________________________
7. Average FMV of adjusted total assets (Schedule C, Part 1, line 5) (see instructions)............. 7.                                                 277,211
                                                                                                                                               __________________________________________
8. Investment capital factor (divide line 6 by line 7) .................................................................. 8.                                                              %
                                                                                                                                               _______________________________________________
9. Liabilities indirectly attributable to investment capital (multiply line 5 by line 8) ............... 9.                                    __________________________________________
10. Average FMV of business capital before subtraction of liabilities attributable
    (subtract line 6 from line 7)....................................................................................................... 10.           277,211
                                                                                                                                               __________________________________________
11. Liabilities indirectly attributable to business capital (subtract line 9 from line 5) ............ 11.                                             300,085
                                                                                                                                               __________________________________________
12. Liabilities directly and indirectly attributable to business capital (add lines 3
    and 11; if this line 12 exceeds line 10, STOP and do not go further) (see instructions) ........ 12.                                                300,085
                                                                                                                                               _______________________________________________
13. Liabilities directly attributable to Insurance and Utility Capital .......................................13.                              _______________________________________________
14. Liabilities directly attributable to General Business Capital ...........................................14.                               _______________________________________________
15. Average FMV of Insurance and Utility Capital before subtraction of liabilities attributable .........15.                                   _______________________________________________
16. Insurance and Utility Capital factor (divide line 15 by line 10) .......................................16.                                                                           %
                                                                                                                                               _______________________________________________
17. Liabilities indirectly attributable to Insurance and Utility Capital (multiply line 16 by line 11) ........17.                             _______________________________________________
18. Liabilities attributable to Insurance and Utility Capital (add lines 13 and 17) ................18.                                        _______________________________________________
19. Net Insurance and Utility Capital (subtract line 18 from line 15 and add any negative value
    from line 22, if this line 19 has a positive value without such addition) (see instructions)...19.                                         _______________________________________________
20. Allocated Insurance and Utility Capital (multiply line 19 by the business allocation
    percentage from Schedule F, Part 3) .............................................................................20.                       _______________________________________________
21. Liabilities attributable to General Business Capital (subtract line 2, line 9,
    line 13 and line 17 from line 1) ......................................................................................21.                 _______________________________________________
22. Net General Business Capital (subtract line 15 and line 21 from line 10, add any
    amount on Schedule C, Part 1, line 10 and add any negative value from line 19,
    if this line 22 has a positive value without such addition) (see instructions) ..................22.                                       _______________________________________________




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SCHEDULE C - (Continued)
Part 3 - Computation of tax on capital base
1a. Allocated General Business Capital (multiply Schedule C, Part 2, line 22 by the business allocation percentage
    from Schedule F, Part 3)..................................................................................................................................................................... 1a.                  0

1b. At tax rate 0.15% (multiply line 1a by 0.15%) .......................................................................................................................1b.                                           0

2a. Allocated insurance and utility capital (Schedule C, Part 2 line 20) (see instructions) ........................................................2a.

2b. At tax rate 0.075%. Check the appropriate box:  Utility Corp.                                        Insurance Corp. (multiply line 2a by 0.075%) ..............2b.
3a. Cooperative housing corporations (see instructions).....................................................................................................................3a.

3b. At tax rate 0.04% Enter Boro                        
                                                        Block                                                      Lot              
    (multiply line 3a by 0.04%) ........................................................................................................................................................3b.

4.    Sum of taxes on capital (Enter the sum of lines 1b, 2b and 3b here) .......................................................................... 4.                                                                0

5.    Tax on capital base (Subtract $10,000 from line 4; If zero or less, enter 0 here and on Schedule A, line 2) .......................... 5.                                                                        0


 SCHEDULE D - Computation of Investment Capital for the Current Year (see instructions)
                                                                                                                         A                                           B                                            C
                                                                                                                Average fair market                      Liabilities attributable                         Net average value
                                                                                                                 value as reported                       to column A amount                             (column A - column B)
1.     Total capital that generates income claimed to not be
       apportionable to New York under the U.S. Constitution
                                                                                                                                                                                                   1.
       (from Form NYC-2.1, Schedule E, line 1)........................1.
2.     Total of stocks actually held for more than one year
       (from Form NYC-2.1, Schedule E, line 2)........................2.                                                                                                                           2.

3.     Total of stocks presumed held for more than one
       year (from Form NYC-2.1, Schedule E, line 3)................3.                                                                                                                              3.
4.     Total investment capital for the current year (add Column C, lines 1, 2 and 3; enter the result here
       and on Schedule C, Part 1, line 8; if zero or less, enter 0) ................................................................................                                               4.


 Addback to business capital of stock presumed and claimed as investment capital in previous year
                                                                                                                         A                                           B                                            C
                                                                                                                Average fair market                      Liabilities attributable                         Net average value
                                                                                                                 value as reported                       to column A amount                             (column A - column B)
 5.    Total of stocks previously presumed held for more than one
       year, but did not meet the holding period (from Form NYC-2.1,
       Schedule F, line 1; enter here and on Schedule C, Part 1, line 10) ..5.                                                                                                                     5.




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 SCHEDULE E - Location of Places of Business Inside and Outside New York City
 All taxpayers must complete Schedule E, Parts 1 and 2.

 Part 1 - List location for each place of business INSIDE New York City (see instructions; attach rider if necessary)
                    Complete Address                              Rent                Nature of Activities         No. of Employees   Wages, Salaries, Etc.   Duties
NUMBER AND STREET



CITY                              STATE       ZIP




NUMBER AND STREET




CITY                              STATE       ZIP




NUMBER AND STREET




CITY                              STATE       ZIP




Total

 Part 2 - List location for each place of business OUTSIDE New York City (see instructions; attach rider if necessary)
                    Complete Address                              Rent                Nature of Activities         No. of Employees   Wages, Salaries, Etc.   Duties
NUMBER AND STREET



CITY                              STATE       ZIP




NUMBER AND STREET




CITY                              STATE       ZIP




NUMBER AND STREET




CITY                              STATE       ZIP




Total

 SCHEDULE F - Computation of Business Allocation Percentage
                                  Complete ONLY Schedule F, Part 1 or Schedule F, Part 2
       Taxpayers must report their Business Allocation Percentage in Schedule F, Part 3 for this return to be accepted
 A. If this is your first Business Corporation Tax return after January 1, 2018 -
        1.   If your NYC receipts are:
             a. Greater than $50,000,000, complete Part 1.
             b. Less than or equal to $50,000,000, you have a one-time opportunity to elect the special three-factor allocation method.
                  1. If you choose NOT to elect the three-factor formula allocation method, complete Part 1.
                  2. If you choose to elect the three-factor formula allocation method, check the box below and complete Part 2.
                      Once the election is made, you must continue to use this method of allocation unless the election is revoked.

                      ELECTION CHECKBOX - by checking this box, the taxpayer elects to use the special three-factor allocation method.
  B. If this is NOT your first Business Corporation Tax return after January 1, 2018 -
        1.   If you previously DID NOT elect to use the three-factor allocation method, or have revoked the election on a prior return, complete Part 1.
        2.   If you have previously elected to use the three-factor allocation method and choose to continue to use it, complete Part 2.
        3.   If you have previously made the election to use the three-factor allocation method and choose to revoke it on this return, check the revocation
             box below and complete Part 1. Once this election is revoked, you are ineligible to use the three-factor allocation method in future filing periods.

              REVOCATION CHECKBOX - by checking this box, the taxpayer revokes its election to use the three-factor allocation method
                                                    on this return and on all future tax filings.




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SCHEDULE F, Part 1 - Computation of Single Receipts Factor Business Allocation Percentage (see instructions)
 Taxpayers who do not allocate business income and business capital outside New York City must enter 100% on Schedule F, Part 3.
 Taxpayers who allocate business income both inside and outside New York City must complete Schedule F, Part 1, unless they made a valid election
 to use the three factor Business Allocation Percentage.

                                                                                                                 COLUMN A - NEW YORK CITY                        COLUMN B - EVERYWHERE

1.    Receipts (from Form NYC-2.5, line 54.) Continue to Part 3 ......... 1.

SCHEDULE F, Part 2 - Computation of Three Factor Business Allocation Percentage (see instructions)
Taxpayers who are using the three factor Business Allocation Percentage should complete this Part.

                                                                                                                 COLUMN A - NEW YORK CITY                        COLUMN B - EVERYWHERE
1a.   Real estate owned ...................................................................... 1a.                                                              1a.
1b.   Real estate rented - multiply by 8 (see instr.) (attach rider) ........ 1b.                                                                              1b.
1c.   Inventories owned........................................................................ 1c.                                                             1c.
1d.   Tangible personal property owned (see instructions) .................. 1d.                                                                               1d.
1e.   Tangible personal property rented - multiply by 8 (see instr., attach rider) ... 1e.                                                                      1e.
1f.   Total .............................................................................................. 1f.                                                  1f.
1g.   Percentage in New York City (divide line 1f, column A by line 1f, column B) ............................................. 1g.                                                     %
1h.   Multiply line 1g by 3.5 .................................................................................................................................. 1h.

2a.   Receipts (from Form NYC-2.5, line 54) ....................................... 2a.                                                                         2a.
2b.   Percentage in New York City (divide line 2a, column A by line 2a, column B) ............................................ 2b.                                                      %
2c.   Multiply line 2b by 93 ................................................................................................................................... 2c.

3a.   Wages, salaries and other compensation of employees,
      except general executive officers (see instructions) ................... 3a.
3b.   Percentage in New York City (divide line 3a, column A by line 3a, column B) ............................................ 3b.                                                      %
3c.   Multiply line 3b by 3.5................................................................................................................................... 3c.

Sum of Weighted Factors
4.    Add lines 1h, 2c and 3c. Continue to Part 3 ................................................................................................               4.

SCHEDULE F, Part 3 – Enter your business allocation percentage either from Part 1 or Part 2. Enter as a percentage and round to
                     ten-thousandth of a percentage point. (See instructions)
     If you are not allocating, enter 100%.
     If you are using Part 1, divide Part 1, column A by column B.
     If you are using Part 2, divide Part 2, line 4 by 100 if no factors are missing.
      If a factor is missing, divide line 4 by the total of the weights of the factors present. .........................................                                  100.0000 %




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 SCHEDULE G - Additional Required Information

1.                                                                                                                 SEE LIST
       List all significant business activities in NYC and everywhere (see instructions; if necessary, attach list)____________________________________

2.     Enter your Secondary Business Code (see instructions) _______________________

3.     Trade name of reporting corporation, if different from name entered on page 1 _______________________________________________________

4.     Is this corporation included in a consolidated federal return?............................................................................................................    YES    NO
       If "YES", give parent's name:__________________________________________________                                                EIN:______________________________________

5.     Is this corporation a member of a controlled group of corporations as defined in IRC section 1563, disregarding
       any exclusion by reason of paragraph (b)(2) of that section? ...........................................................................................................      YES    NO
       If "YES", give common parent corporation’s name _____________________________________                                         EIN:______________________________________

6.     Has the Internal Revenue Service or the New York State Department of Taxation and Finance corrected any
       taxable income or other tax base reported in a prior year, or are you currently under audit? ..........................................................                       YES    NO
       If "YES",            Internal Revenue Service                                                       State period(s): Beg.:________________                       End.:________________
                                                                                                                                                    MMDDYY                             MMDDYY
       by whom?
                            New York State Department of Taxation and Finance                              State period(s): Beg.:________________                       End.:________________
                                                                                                                                                    MMDDYY                             MMDDYY


7.     If “YES” to question 6:
       7a. For years prior to 1/1/15, has Form(s) NYC-3360 (Report of Federal/State Change in Tax Base) been filed?.........................                                         YES    NO
       7b. For years beginning on or after 1/1/15, has an amended return(s) been filed? .........................................................................                    YES    NO
8.     Did this corporation make any payments treated as interest in the computation of business income to shareholders owning
       directly or indirectly, individually or in the aggregate, more than 50% of the corporation’s issued and outstanding capital stock?
       If “YES”, please attach a schedule giving Shareholder's name, SSN/EIN, Interest paid to shareholder,
                                                                                                                                                                  YES
       Total indebtedness to shareholder and Total interest paid ................................................................................................................            NO
9.     Was this corporation a member of a partnership or joint venture during the tax year? ....................................................................  YES                       NO
       If "YES", attach schedule listing name(s) and Employer Identification Number(s).

10.    At any time during the taxable year, did the corporation have an interest in real property (including a leasehold interest)
       located in NYC or a controlling interest in an entity owning such real property? .............................................................................                YES    NO
11a. If "YES" to question 10, attach a schedule of such property, indicating the nature of the interest and including the street address,
     borough, block and lot number.

11b. Was any NYC real property (including a leasehold interest) or controlling interest in an entity owning NYC real property
                                                                                                                                                                               YES
     acquired or transferred with or without consideration? .....................................................................................................................            NO
11c. Was there a partial or complete liquidation of the corporation? ........................................................................................................  YES          NO
11d. Was 50% or more of the corporation’s ownership transferred during the tax year, over a three-year period or according to a plan? ....  YES                                             NO
12. If "YES" to questions 11b, 11c or 11d, was a Real Property Transfer Tax Return (Form NYC-RPT) filed? ......................................  YES                                        NO
13.    If "NO" to question 12, explain: _____________________________________________________________________________________________

14.    Does this taxpayer pay rent greater than $200,000 for any premises in NYC in the borough of Manhattan south of 96th Street
       for the purpose of carrying on any trade, business, profession, vocation or commercial activity? ..................................................           YES  NO
15.    If "YES" to question 14, were all required Commercial Rent Tax Returns filed? ..............................................................................  YES  NO
       Please enter Employer Identification Number which was used on the Commercial Rent Tax Return: ______________________________________

16.    Are you claiming an exception to the related member expense addback under Administrative Code section 11-652(8)(n)(2)(ii)? ...                                                YES    NO
       If yes, enter applicable exception and amount of royalty payments. ______________________________                                                ______________________________
                                                                                                                    EXCEPTION                                                 AMOUNT


17.                                                                                                                                                     YES
       If you filed federal form 1120F, did you have Effectively Connected Income (ECI)? ........................................................................                            NO
18.    Did this corporation carry out any commercial banking business (as defined by Section 11-640(b) of the Ad. Code) during this filing period?....  YES                                 NO
19.    Did you include a disregarded entity in this return? If YES, attach a schedule giving the legal name and EIN of each disregarded entity included.......                       YES    NO




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SCHEDULE H - DETERMINATION OF TAX RATE

A.                                                                                                                                                                      6.500
      Enter the tax rate computed or used below (see instructions) ............................................................................A. _____________________________
B.                                                                                                                                                                1
      Enter the line number of the tax rate computed or used below (see instructions) ..............................................B. _____________________________
                                                                                                                                                -189,818.
Ca. Enter your unallocated business income from Schedule B, line 30 (see instructions)......................................Ca. _____________________________
Cb. If the amount on line Ca is not correct, enter correct amount here and explain in rider (see instructions) ......Cb. _____________________________
D.    Enter your allocated business income from Schedule B, line 32a or 32b if used ...............................................D.                                -189,818.
E.    If you are a Qualified Manufacturing Corporation as defined in Administrative Code Section 11-654(1)(k)(4), mark an x in the box (see instr.) ....E.   
F. If you are a Financial Corporation as defined in Administrative Code Section 11-654(1)(e)(1)(i), mark an X in the box (see instr.).....................F. 

 TAX RATE COMPUTATION FOR BUSINESS CORPORATIONS NOT SPECIFIED BELOW ( see instructions)

 1.    If unallocated business income (Schedule B, line 30) is less than $2M and allocated
                                                                                                                                             6.50%
       business income (Schedule B, line 32a or 32b if used) is less than $1M.

 2.    If unallocated business income (Schedule B, line 30) is equal to or greater than $3M
       (regardless of the amount of allocated business income)                                                                               8.85%

 3.    If allocated business income (Schedule B, line 32a or 32b if used) is equal to or
                                                                                                                                             8.85%
       greater than $1.5M (regardless of the amount of unallocated business income)

 4.    If unallocated business income (Schedule B, line 30) is equal to or greater than $2M                                       line 30 - 2,000,000                            %
       but less than $3M and allocated business income (Schedule B, line 32a or 32b if                     6.50% + (2.35% X                           )=
                                                                                                                                        1,000,000
       used) is less than $1M, use unallocated formula

 5.    If unallocated business income (Schedule B, line 30) is less than $2M and allocated                                                                                       %
                                                                                                                                  line 32a or 32b - 1,000,000
       business income (Schedule B, line 32a or 32b if used) is equal to or greater than                   6.50% + (2.35% X                                   )=
                                                                                                                                            500,000
       $1M but less than $1.5M, use allocated formula

                                                                                                                                  line 30 - 2,000,000                   %
                                                                                                           6.50% + (2.35% X                           )=
                                                                                                                                        1,000,000
 6.    If unallocated business income (Schedule B, line 30) is equal to or greater than $2M
       but less than $3M and allocated business income (Schedule B, line 32a or 32b if
                                                                                                                                  line 32a or 32b - 1,000,000           %
       used) is equal to or greater than $1M but less than $1.5M, compute tax rates using                  6.50% + (2.35% X                                   )=
       both formulas. Use the greater of the two computed tax rates.                                                                       500,000

                                                                                                           Enter the greater of the two computed tax rates: _________ %
 TAX RATE COMPUTATION FOR QUALIFIED MANUFACTURING CORPORATIONS (see instructions)

 7.    If unallocated business income (Schedule B, line 30) is less than $20M and allocated
                                                                                                                                             4.425%
       business income (Schedule B, line 32a or 32b if used) is less than $10M

 8.    If unallocated business income (Schedule B, line 30) is equal to or greater than $40M
                                                                                                                                              8.85%
       (regardless of the amount of allocated business income)

 9.    If allocated business income (Schedule B, line 32a or 32b if used) is equal to or
                                                                                                                                              8.85%
       greater than $20M (regardless of the amount of unallocated business income)

 10. If unallocated business income (Schedule B, line 30) is equal to or greater than $20M                                        line 30 - 20,000,000                           %
     but less than $40M and allocated business income (Schedule B, line 32a or 32b if                      4.425% + (4.425% X                          )=
                                                                                                                                       20,000,000
     used) is less than $10M, use unallocated formula

 11. If unallocated business income (Schedule B, line 30) is less than $20M and allocated                                          line 32a or 32b - 10,000,000                  %
     business income (Schedule B, line 32a or 32b if used) is equal to or greater than $10M                4.425% + (4.425% X                                   )=
                                                                                                                                          10,000,000
     but less than $20M, use allocated formula

                                                                                                                                   line 30 - 20,000,000                 %
                                                                                                           4.425% + (4.425% X                           )=
 12. If unallocated business income (Schedule B, line 30) is equal to or greater than $20M                                              20,000,000
     but less than $40M and allocated business income (Schedule B, line 32a or 32b if
                                                                                                                                   line 32a or 32b - 10,000,000         %
     used) is equal to or greater than $10M but less than $20M, compute tax rates using                    4.425% + (4.425% X                                   )=
     both formulas. Use the greater of the two computed tax rates                                                                        10,000,000

                                                                                                           Enter the greater of the two computed tax rates: _________ %
 TAX RATE COMPUTATION FOR CERTAIN FINANCIAL CORPORATIONS (see instructions )

 13. Financial Corporations as defined in Administrative Code Section 11-654(1)(e)(1)(i)                                                      9.00%




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                                               - 2.4                       NET OPERATING LOSS DEDUCTION (NOLD)
                                                                           You MUST attach this form to Form NYC-2 or NYC-2A each tax year
                                                                                                                                 10-01
                                                                           For Calendar Year 2021 or Fiscal Year Beginning _______________________,                      09-30-22
                                                                                                                                                    2021 and ending _____________________________
                            Name as shown on NYC-2 or NYC-2A:                                                                                                   Employer Identification Number

                            BAOBURG INC.                                                                                                           4       7          5      2     3       3   8    2    2
                           A. Were there any special federal Net Operating Loss elections?..............................................................................................    YES  NO
                           B. NYC-2A filers: Have there been any changes in the composition of the group of corporations included in this Combined Business
                              Corporation Tax Return from the prior tax period? If "YES," please complete Schedules B and C. (See instructions)............      YES  NO
                           C. Are you making an election to waive the carryback period for NOLs generated in the current tax period? ..........................  YES  NO

 SCHEDULE A - COMPUTATION OF CURRENT NYC NET OPERATING LOSS DEDUCTION (NOLD)
1.    Multiply Form NYC-2 or NYC-2A, Schedule B, line 34 by your appropriate business income base
                                                                                                                                                  0
      tax rate for the current year from Schedule H, Determination of Tax Rate in Form NYC-2 or NYC-2A (see instr.) .... 1. ______________________________
2.    Enter the greater of the capital base tax or the fixed dollar minimum tax for the current tax year
                                                                                                                                                                   0
      (from Form NYC-2 or NYC-2A, Schedule A, line 2 or 3) .............................................................................. 2. ______________________________

3.                                                                                                                                                             0
      Subtract line 2 from line 1. If less than zero, enter "0" (see instructions) .................................................. 3. ______________________________
4.    NOLD that is required to be utilized, if available (divide line 3 by the same
                                                                                                                                                           0
      business income base tax rate used for line 1; do not enter less than zero) ............................................... 4. ______________________________

Computation of net operating loss (NOL) to be used (see instructions)
5a. NOL carryforward from prior year’s Form NYC-2.4............................................. 5a. _____________________________
5b.   NOL carryforwards from new members who entered the group
      during the current tax year ............................................................................ 5b. _____________________________
5c.   NOL carryback ............................................................................................. 5c. _____________________________
5d.   Subtotal (add lines 5a, 5b and 5c) .................................................................................................................. 5d. ______________________________
5e.   NOLs carryforwards that have expired ......................................................... 5e. _____________________________
5f.   NOL carryforwards unavailable for use in the current tax year ........................ 5f. _____________________________

5g.   Add lines 5e and 5f ....................................................................................................................................... 5g. ______________________________

5h.                                                                                                                                                          0
      Total of NOLs available to be used in the current tax year (subtract line 5g from line 5d) ................................. 5h. ______________________________

6.    NOLs to be used in the current tax year .................................................... 6.                                                  0
Computation of NOL carryforward (see instructions)
7a. NOL incurred in the current tax year ........................................................................................................... 7a. ______________________________
                                                                                                                                                                      189,818
7b.                                                                                                                                                               189,818
      Net NOLs available (add lines 5h, 5f and 7a).............................................................................................. 7b. ______________________________
7c.   NOL carryforwards from members who left the group
      during the current tax year ............................................................................ 7c. _____________________________
7d.   Add lines 6 and 7c ......................................................................................................................................... 7d. ______________________________
                                                                                                                                                                                             0
7e.   NOL available to be carried forward (subtract line 7d from 7b) ......................................................................... 7e. ______________________________
                                                                                                                                                                189,818
 SCHEDULE B - FORM NYC-2A FILERS ONLY: ENTITIES NOT INCLUDED IN PRIOR COMBINED RETURN
Are any entities included in the Combined Business Corporation Tax Return that were not included in the return for the prior period?                                                 YES           NO
 Complete this schedule for each corporation included in the Combined Business Corporation Tax Return that was not included in the
 Combined Business Corporation Tax Return for the prior tax period.
               A                                   B                               C                            D                      E                                F                            G
             Name                              Employer                    NOL available                Beginning date       Ending date
                                                                                                                                   Subject to               Reason(s) INCLUDED
              of                             Identification               at the beginning             of this tax period of this tax period
                                                                                                                                      IRC                       in combined
          corporation                          Number                     of this tax period              (mm-dd-yy)               §§381-384
                                                                                                                             (mm-dd-yy)                business corporation tax return
                                                                                                                                    or SRLY
_____________________________________________________________________________________________________________________________________________
                                                                                                                                      
_____________________________________________________________________________________________________________________________________________
                                                                                                                                      
_____________________________________________________________________________________________________________________________________________
                                                                                                                                      
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                                                                                                                                      
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                                                                                                                                      
_____________________________________________________________________________________________________________________________________________
                                                                                                                                      
_____________________________________________________________________________________________________________________________________________
                           If additional space is required, please use this format on a separate sheet and attach to this page.
                                                                                            REV 05/26/22 PRO                                                                                   NYC-2.4 - 2021
31612116                                                                                                                                                                               16
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Form NYC-2.4 - 2021       NAME: ______________________________________
                                BAOBURG INC.                                                     EIN: XX-XXXXXXX
                                                                                                      __________________________________ Page 2

SCHEDULE C - FORM NYC-2A FILERS ONLY: ENTITIES NO LONGER INCLUDED IN COMBINED GROUP (See Instructions)

Are there any entities in the combined group for which this will be the last tax period of inclusion in the group?                        YES          NO
Complete this schedule for each corporation included in the combined group for any part of the group’s current tax period that are no
longer part of the combined group as of the beginning of the combined group’s subsequent tax period.
                                                                                  Former Member's Tax Period
                                                                                       in Combined Group
             A                         B                        C                   D                   E                     F
          Name of            Employer Identification    NOL available upon    Beginning date       Ending date Reason(s) EXCLUDED from combined
         corporation               Number            leaving combined group    (mm-dd-yy)          (mm-dd-yy)   business corporation tax return
____________________________________________________________________________________________________________________________________________

____________________________________________________________________________________________________________________________________________

____________________________________________________________________________________________________________________________________________

____________________________________________________________________________________________________________________________________________

____________________________________________________________________________________________________________________________________________

____________________________________________________________________________________________________________________________________________
                              If additional space is required, please use this format on a separate sheet and attach to this page.


SCHEDULE D - NYC NET OPERATING LOSS DEDUCTION SCHEDULE (NOLD)
  APPLICABLE           COLUMN A -             COLUMN B -                COLUMN C -                 COLUMN D -           COLUMN E -            COLUMN F -
     YEAR                 Tax               Amount from                 NYC Net                   NYC Net              NYC Net                NYC Net
                          Year            NYC-2A or NYC-2,            Operating Loss            Operating Loss       Operating Loss         Operating Loss
                                           Sch. B, line 34             Generated                   Utilized             Expired              Remaining
_______________________________________________________________________________________________________________________________________________________________
1. 19th preceding yr
_______________________________________________________________________________________________________________________________________________________________
2. 18th preceding yr
_______________________________________________________________________________________________________________________________________________________________
3. 17th preceding yr
_______________________________________________________________________________________________________________________________________________________________
4. 16th preceding yr
_______________________________________________________________________________________________________________________________________________________________
5. 15th preceding yr
_______________________________________________________________________________________________________________________________________________________________
6. 14th preceding yr
_______________________________________________________________________________________________________________________________________________________________
7. 13th preceding yr
_______________________________________________________________________________________________________________________________________________________________
8. 12th preceding yr
_______________________________________________________________________________________________________________________________________________________________
9. 11th preceding yr
_______________________________________________________________________________________________________________________________________________________________
10. 10th preceding yr
_______________________________________________________________________________________________________________________________________________________________
11. 9th preceding yr
 _______________________________________________________________________________________________________________________________________________________________
12. 8th preceding yr
_______________________________________________________________________________________________________________________________________________________________
13. 7th preceding yr
_______________________________________________________________________________________________________________________________________________________________
14. 6th preceding yr
_______________________________________________________________________________________________________________________________________________________________
15. 5th preceding yr
_______________________________________________________________________________________________________________________________________________________________
16. 4th preceding yr
_______________________________________________________________________________________________________________________________________________________________
17. 3rd preceding yr
_______________________________________________________________________________________________________________________________________________________________
18. 2nd preceding yr
_______________________________________________________________________________________________________________________________________________________________
19. 1st preceding yr
_______________________________________________________________________________________________________________________________________________________________
20. Current year                2021           -189,818.                                                     0.
_______________________________________________________________________________________________________________________________________________________________




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                                                              NEW YORK CITY DEPARTMENT OF FINANCE
                    NYC
                   579-COR
                                                                   Signature Authorization for                                                                     2021
                                                            E-Filed Business Corporation Tax Return
  ELECTRONIC RETURN ORIGINATORS (ERO): DO NOT MAIL THIS FORM TO THE DEPARTMENT OF FINANCE. KEEP THIS FOR YOUR RECORDS.
LEGAL NAME OF CORPORATION:                                                                                                    EMPLOYER IDENTIFICATION NUMBER

                                                                                                                       4     7           5     2      3     3     8      2     2
BAOBURG INC.
EMAIL ADDRESS:                                                       TYPE OF      NYC-EXT               NYC-EXT.1               NYC-300 (2022)  NYC-400 (2022)
                                                                     RETURN:
PABLO@SANCHEZLLC.COM                                                              NYC-2                 NYC-2A                  NYC-2S
 Financial Institution Information - must be included if electronic payment is authorized
AMOUNT OF AUTHORIZED DEBIT:                 FINANCIAL INSTITUTION ROUTING NUMBER:      FINANCIAL INSTITUTION ACCOUNT NUMBER:

                                                 0 2 1 0 0 0 0 2 1
                                     1,500.                                                  883719889
Part A - Declaration and authorization of corporate officer for Forms NYC-2, NYC-2A, NYC-2S, NYC-EXT, NYC-EXT.1, NYC-300 or NYC-400
Under penalty of perjury, I declare that I am an officer of the corporation authorized to act on behalf of the above-named corporation, and that I have examined
the information on its 2021 New York City electronically filed corporation tax return, including any accompanying schedules, attachments, and statements or
other report checked above, and to the best of my knowledge and belief, the electronically filed corporation tax return or other report is true, correct, and com-
plete. The ERO has my consent to send the 2021 New York City electronically filed corporation tax return or other report checked above to New York City De-
partment of Finance through the Internal Revenue Service. I authorize the ERO to enter my PIN as my signature on the 2021 New York City electronically filed
corporation tax return or other report, or I will enter my PIN as my signature on the 2021 New York City electronically filed corporation tax return or other re-
port. If I am paying the New York City corporation tax owed by electronic funds withdrawal, I authorize the New York City Department of Finance and its des-
ignated financial agents to initiate an electronic funds withdrawal from the financial institution account indicated on the corporation’s 2021 New York City
electronically filed corporation tax return or other report, and I authorize the financial institution to debit the amount from that account.
Officer’s PIN (mark an X in one box only)
                                                                                                                                               1     1      3     7       7
                    SANCHEZ PROFESSIONAL SERVICES LLC
         I authorize ___________________________________________________
                                                      ERO FIRM NAME
                                                                         to enter my PIN :

         as my signature on the corporation’s 2021 electronically filed corporation tax return or other report checked above.

        As an authorized person of the corporation, I will enter my PIN as my signature on the corporation’s 2021 electronically filed corpora-
         tion tax return or other report checked above.

________________________________________                                         PRESIDENT
                                                                                 _________________________                             02-18-23
                                                                                                                                       ____________________
Signature of authorized person                                                   Official title                                        Date
Part B - Declaration of electronic return originator (ERO) and paid preparer
Under penalty of perjury, I declare that the information contained in the above-named corporation’s 2021 New York City electronically filed corporation tax return or other report
checked above is the information furnished to me by the corporation’s authorized officer. If the corporate officer furnished me with a completed 2021 New York City paper cor-
poration tax return or other report signed by a paid preparer, I declare that the information contained in the corporation’s 2021 New York City electronically filed corporation tax
return or report is identical to that contained in the paper return or report. If I am the paid preparer, under penalty of perjury I declare that I have examined this 2021 New York
City electronically filed corporation tax return or other report, and, to the best of my knowledge and belief, the return or other report is true, correct, and complete. I have based
this declaration on all information available to me.

ERO EFIN/PIN: Enter your six-digit EFIN followed by your five digit PIN:


  _________________________________________                                     SANCHEZ PROFESSIONAL SERVICES LLC
                                                                                _____________________________________                                     02-18-23
                                                                                                                                                          ________________
  ERO’s Signature                                                                Print Name                                                               Date


  _________________________________________                                     PABLO F SANCHEZ
                                                                                _____________________________________                                     ________________
  Paid Preparer’s Signature                                                      Print Name                                                               Date
PURPOSE - A completed Form NYC-579-COR provides documentation that an ERO has been authorized to electronically file the Business Corporation Tax return or other
report. The officer of the corporation who is authorized to sign the corporationʼs returns may designate the ERO to electronically sign the return or other report by entering
the officerʼs personal identification number (PIN). The form also authorizes payment of tax due on an electronically submitted return or report by an automatic clearing house
(ACH) debit from a designated checking or savings account of the corporation. You cannot revoke this authorization.
GENERAL INSTRUCTIONS - Part A must be completed by an officer of the corporation who is authorized to sign the corporation’s return or report before the ERO trans-
mits the electronically filed Form NYC-2A (Combined Business Corporation Tax Return); NYC-2 (Business Corporation Tax Return); NYC-2S (Business Corporation Tax
Return); NYC-EXT (Application for 6-month Extension to File Business Income Tax Return); NYC-EXT.1 (Application for Additional Extension); NYC-300 (Mandatory First
Installment (MFI) by Business C Corporations) or NYC-400 (Declaration of Estimated Tax by Business Corporations and Subchapter S General Corporations).
EROs/paid preparers must complete Part B prior to transmitting electronically filed corporation tax returns or reports (Forms NYC-2, NYC-2A, NYC-2S, NYC-EXT,
NYC-EXT.1, NYC-300 or NYC-400). Both the paid preparer and the ERO are required to sign Part B. However, if an individual performs as both the paid preparer and
the ERO, he or she is only required to sign as the paid preparer. It is not necessary to include the ERO signature in this case.
Do not mail Form NYC-579-COR to the Department of Finance. The EROs/paid preparers must keep the completed Form NYC-579-COR for three years from the due
date of the return or report or the date the return or report was filed, whichever is later, and must present it to the Department of Finance upon request.
                                                                                                                                                            16
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BAOBURG INC.                                                                 47 5233822            1



Additional information from your 2021 New York City General Corp Tax Return

NYC-2: Business Corporation Tax Return
Sch G, Significant Business Activities Statement                              Continuation Statement
                          Sch G, Significant Business Activities Statement
RESTAURANT
